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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

         Hologic, Inc., a Delaware corporation;
         Cytyc Surgical Products, LLC, a
         Massachusetts limited liability company

                                 Plaintiffs,
                                                              Civil Action No. 15-1031-SLR
                 v.
                                                              JURY TRIAL DEMANDED
         Minerva Surgical, Inc., a Delaware
         corporation

                                 Defendant.


                      SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

                 For its Second Amended Complaint against Minerva Surgical, Inc. (“Defendant”),

         Plaintiffs Hologic, Inc. (“Hologic”) and Cytyc Surgical Products, LLC (“Cytyc”) (collectively

         “Plaintiffs”) by its attorneys, allege as follows:

                                               NATURE OF THE ACTION

                 1.   In this action, Plaintiffs Hologic and Cytyc allege that Defendant infringes U.S.

         Patent Nos. 6,872,183 (“the ‘183 Patent”), 8,998,898 (“the ‘898 Patent”), 9,095,348 (“the ‘348

         Patent”), and 9,247,989 (“the ‘989 Patent”) (collectively “the Patents-in-Suit”).

                                                       PARTIES

                 2.   Plaintiff Hologic is a corporation organized and existing under the laws of the State

         of Delaware with a principal place of business at 250 Campus Drive, Marlborough,

         Massachusetts, 01752. Hologic is a leader in women’s health care including diagnostics,

         screening, and imaging, as well as medical intervention and treatment.

                 3.   Plaintiff Cytyc is a limited liability company organized and existing under the laws

         of the Commonwealth of Massachusetts with a principal place of business at 250 Campus Drive,

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  Marlborough, Massachusetts, 01752. Cytyc is a leader in designing, developing, and selling

  medical devices for the treatment of excessive or abnormal endometrial bleeding. Cytyc is a

  wholly-owned subsidiary of Hologic.

         4.   Prior to January 15, 2016 (and prior to the filing of the original Complaint in the

  instant case), Cytyc was the owner by assignment of the ‘183, ‘898, and ‘348 Patents. On

  January 15, 2016, Cytyc, at Hologic’s direction, assigned the ‘183, ‘898, and ‘348 Patents. Prior

  to the assignment and currently, Cytyc has been and continues to be wholly-owned and

  controlled by Hologic. At the time of the filing of the original Complaint and continuing without

  interruption to the present day, Hologic has controlled Cytyc’s business decisions including its

  patent licensing and enforcement policies. Hologic also controlled Cytyc’s decision to divest

  itself of the ‘183, ‘898, and ‘348 Patents and assign them to Hologic. Cytyc, as a member-

  controlled LLC, has not had decision-making authority independent of Hologic and has not acted

  contrary to Hologic’s control. As such, Hologic has enjoyed exclusive rights to practice the

  ‘183, ‘898, and ‘348 Patents as well as control over the assignment and enforcement thereof.

  Cytyc is the assignee and lawful owner of all right, title, and interest in and to the ‘989 Patent.

         5.   On information and belief, Defendant Minerva is a corporation organized and

  existing under the laws of the State of Delaware with a principal place of business at 101

  Saginaw Drive, Redwood City, CA, 94063.

                                   JURISDICTION AND VENUE

         6.   This action arises under the Patent Laws of the United States, Title 35 of the United

  States Code. This action also includes claims for unfair competition arising under the Lanham

  Act, 15 U.S.C. § 1051 et seq., and the laws of the State of Delaware.




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          7.   This Court has subject matter jurisdiction over the causes of action asserted herein

  pursuant to 28 U.S.C. §§ 1331 and 1338, and 15 U.S.C. §§ 1121(a) and 1125(a). This Court has

  jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. § 1367, as the state

  law claims arise from the same common nucleus of operative facts as the federal claims.

          8.   This Court has personal jurisdiction over the Defendant based on its incorporation in

  Delaware as well as its contacts with the State and this District. On information and belief,

  Defendant has had systematic and continuous contacts with this District, regularly transacts

  business within this District, and regularly avails themselves of the benefits of this District. On

  information and belief, Defendant, directly or through intermediaries (including sales agents and

  others), uses, offers for sale, sells, imports and/or distributes to others for such purposes,

  endometrial ablation products for the treatment of abnormal uterine bleeding, in the United

  States and this District.

          9.   Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) as, among

  other reasons, Defendant is subject to personal jurisdiction in this District and a substantial part

  of the events giving rise to the claims occurred in this District.

                                            BACKGROUND

          10. Plaintiffs Hologic and Cytyc are leading developers, manufacturers, and suppliers of

  medical devices dedicated to helping medical care professionals deliver superior healthcare to

  their patients. One such medical product that Cytyc makes and distributes is the NovaSure®

  endometrial ablation system, a system designed to, among other things, remove the endometrial

  lining of the uterus and control abnormal uterine bleeding. The NovaSure® system has been used

  to treat more than two million women since it was approved for use by the FDA in 2001. The

  novel design (e.g., using radiofrequency impedance-based technology allowing for fast



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  treatment time with no hormonal pretreatment required) of the NovaSure® system allows

  medical care professionals to quickly, efficiently, and comfortably control abnormal uterine

  bleeding.

         11. Plaintiffs have made significant investments into the research, development, and

  testing of safe tissue ablation, including the technology embodied by the NovaSure® endometrial

  ablation system.

         12. Plaintiffs have made significant investments into bringing the product to market.

         13. To protect these investments, Cytyc applied for and obtained a number of patents,

  including the ‘183, ‘898, ‘348, and ‘989 Patents.

         14. On information and belief, Defendant has been directly competing with Plaintiffs

  since at least August, 2015, by making, using, selling, offering to sell, and/or importing into the

  United States for subsequent sale or use the Minerva Endometrial Ablation Device. A true and

  correct copy of the Minerva Endometrial Ablation System Operator’s manual which can be

  obtained from the FDA website (http://www.accessdata.fda.gov/cdrh_docs/pdf14/P140013d.pdf)

  or from Defendant’s website (http://www.minervasurgical.com/health-care-

  professionals/clinical-study-data/#downloadifu) is attached as Exhibit A.

         15. Plaintiffs have made significant investments to cultivate and establish long-standing

  relationships with physicians and hospital staff. Plaintiffs have trained these physicians and

  hospital staff to use the NovaSure® system, and many have been long-term customers. Also,

  Plaintiffs have made significant investments in the NovaSure® brand and clinical data, including

  clinical trials, studies, and programs that provide evidence for patients on NovaSure®’s safety

  and efficacy.




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         16. Defendant has engaged in a concerted marketing campaign targeting Plaintiffs’

  existing customers. Defendant’s executives and sales representatives visit with physicians and

  purchasing agents, prepare correspondence, and host dinners, among other things, to market the

  Minerva Endometrial Ablation System to physicians and hospital staff that are Plaintiffs’

  existing customers. During its interactions with these physicians and hospital personnel,

  Defendant has negatively impacted Plaintiffs’ goodwill with existing physician and hospital

  customers.

         17. Defendant has hired former members of Plaintiffs’ NovaSure® sales team and has

  used these former NovaSure® sales representatives to market the Minerva Endometrial Ablation

  System to Plaintiffs’ existing customers. The former NovaSure® sales representatives, now

  Minerva sales representatives, assert to existing physician customers of Plaintiffs that they work

  for the makers of NovaSure® and that they are selling the new NovaSure®. For example, in and

  around early December 2015, a Minerva sales representative for the Minerva Endometrial

  Ablation System told existing customers of Plaintiffs in the Southeast Texas and Southwest

  Louisiana regions that he works for the makers of NovaSure® and that he can provide the new

  NovaSure®, suggesting a partnership between Minerva and Plaintiffs. Defendant has created and

  continues to create the false impression that the Minerva Endometrial Ablation System is the

  new NovaSure®. On information and belief, Defendant’s actions have caused physicians to use

  the Minerva system due to the mistaken belief that physicians can rely on the NovaSure® brand

  and its clinical data, including clinical trials, studies, and programs that provide evidence for

  patients on NovaSure®’s safety and efficacy. Existing customers of Plaintiffs, specifically

  physicians, have asked Plaintiffs’ sales team whether the system that Minerva’s sales

  representatives are marketing is the new, updated version of the NovaSure® branded system.



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         18. On information and belief, Defendant’s sales representatives have been marketing

  Defendant as the makers of NovaSure®. On information and belief, Defendant’s sales

  representatives have been describing the Minerva Endometrial Ablation System as the new

  NovaSure® and as a technical update to the NovaSure® system. Specific instances of this and

  similar false statements are described in Plaintiffs’ opening brief and the declarations in support

  of Plaintiffs’ Motion for a Preliminary Injunction, which are incorporated by reference herein in

  their entirety. Defendant’s sales representatives create the impression that there is an affiliation,

  connection, or association between Defendant and Plaintiffs, and physician customers have

  specifically asked the Plaintiffs’ sales team about the alleged partnership between Plaintiffs and

  Defendant.

         19. Defendant’s description of the Minerva Endometrial Ablation System as an updated

  version of the NovaSure® technology increases physicians’ interest in the Minerva Endometrial

  Ablation System based on the physicians’ familiarity with the NovaSure® system.

         20. On information and belief, Defendant’s sales representatives assert that, because the

  team that developed the Minerva Endometrial Ablation System developed the NovaSure®

  system, Defendant’s development team knows the alleged shortcomings of the prior NovaSure®

  systems and has sought to make a better, updated version. For example, on September 19, 2015,

  one of Defendant’s executives participated in a talk radio show asserting that he and his team

  developed the NovaSure® system and that he and his team now have an updated design. The

  executive also asserted that he and his team were aware of supposed detriments and weaknesses

  of the prior NovaSure® systems. The talk radio show aired on radio station KCMO, 710 AM and

  103.7 FM, in the Kansas City area and now is available as a podcast.




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            21. On information and belief, Defendant’s sales representatives correspond with

  physicians and provide an internet link to the executive’s podcast. For example, on September

  21, 2015, one of Defendant’s sales representatives emailed a potential costumer and provided the

  Internet link to the podcast, asserting that the potential customer would find the podcast very

  compelling.

            22. On August 20, 2015, one of Defendant’s sales representatives emailed a potential

  customer asserting that the same exact group developed both the Minerva Endometrial Ablation

  System and the NovaSure® system and that the Minerva Endometrial Ablation System is an

  improved version of the NovaSure® system using newer technology.

            23. On information and belief, Defendant’s Minerva Endometrial Ablation System has

  been used in approximately seventy-five hospitals and Defendant has sold approximately two

  hundred units. On information and belief, Defendant’s sales and customer usage are a result of

  Defendant’s false designation of origin and misleading description of facts in connection with its

  marketing and/or sale of the Minerva Endometrial Ablation System. On information and belief,

  Defendant’s Minerva Endometrial Ablation System is sold and used throughout the United

  States.

            24. On information and belief, Defendant, in light of the similarities between the

  Minerva Endometrial Ablation System and the NovaSure® system, intentionally engaged in

  false, misleading, and deceptive conduct while targeting Plaintiffs’ existing customers using

  former NovaSure® sales representatives.

            25. Defendant provides a 44-page detailed Operator’s Manual for the Endometrial

  Ablation System to its physician customers. At the beginning of the Operator’s Manual,

  Minerva instructs its physician customers to “READ ALL INSTRUCTIONS, CAUTIONS AND



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  WARNINGS PRIOR TO USE. FAILURE TO FOLLOW ANY INSTRUCTIONS OR TO

  HEED ANY WARNINGS OR PRECAUTIONS COULD RESULT IN SERIOUS PATIENT

  INJURY.” On information and belief, Minerva prepared this Operator’s Manual after

  conducting its own testing and trials using the Minerva Endometrial Ablation System in the

  United States on patients. In addition, on information and belief, Minerva hired licensed

  physicians as Minerva’s agents to test and trial the Minerva Endometrial Ablation System, where

  Minerva would direct, control, and instruct the physician on the precise way to test and use

  Minerva Endometrial Ablation System to avoid patient injury, consistent with its Operator’s

  Manual for the system.

                                               COUNT I

                           (Defendant’s Infringement of the ‘183 Patent)

         26. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.

         27. On March 29, 2005, the U.S. Patent and Trademark Office (“USPTO”) duly and

  legally issued the ‘183 Patent, entitled “System and Method for Detecting Perforations in a Body

  Cavity,” to Russel M. Sampson, Mike O’Hara, Csaba Truckai, and Dean T. Miller as inventors.

  A true and correct copy of the ‘183 Patent is attached as Exhibit B.

         28. Prior to January 15, 2016 and prior to the filing of the original Complaint in the

  instant case, Cytyc was the assignee and lawful owner of all right, title, and interest in and to the

  ‘183 Patent. At the time of the filing of the original Complaint and continuing without

  interruption to the present day, Cytyc has been owned by Hologic and under Hologic’s control,

  and Hologic thus has enjoyed the unfettered rights to practice, enforce, and assign the ‘183




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  patent. As of January 15, 2016, Cytyc assigned the ‘183 Patent to Hologic pursuant to Hologic’s

  direction.

         29. Plaintiffs have complied with the notice requirements of 35 U.S.C. § 287 with

  respect to products that they manufacture and sell under the ‘183 Patent.

         30. Defendant has had knowledge of the ‘183 Patent since at least the filing of the

  original Complaint of the instant case and knew or should have known that the sale, offer for

  sale, use, manufacture, and/or importation of the Minerva Endometrial Ablation System would

  infringe one or more claims of the ‘183 Patent. On information and belief, Defendant has had

  knowledge of the ‘183 Patent before the filing of the original Complaint for at least the reason

  that Defendant’s founder Mr. Csaba Truckai is a named inventor of the ‘183 Patent.

         31. On information and belief, Defendant was aware that Plaintiffs’ NovaSure® system

  embodied the claimed invention of the ‘183 Patent and knew or should have known that

  Defendant’s products, including the Minerva Endometrial Ablation System, infringed one or

  more claims of the ‘183 Patent due to their substantially similar designs. Defendant has

  represented to potential customers that Defendant’s personnel formerly worked on the

  NovaSure® system.

         32. On information and belief, Defendant has infringed and continues to infringe,

  literally and/or through the doctrine of equivalents, the ‘183 Patent in violation of

  35 U.S.C. § 271 by making, using, selling, offering to sell, and/or importing into the United

  States for subsequent sale or use products, services, methods, or processes that are covered by at

  least claims 1-7, 9, 11, and 13-15 of the ‘183 Patent. On information and belief, such devices

  include, but are not limited to, the Minerva Endometrial Ablation System. At Exhibit E,

  Plaintiffs attach a claim chart, which is excerpted from the Declaration of William Lucas



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  Churchill in support of Plaintiffs’ Motion for a Preliminary Injunction (D.I. 27) (redacted version

  of Sealed Declaration, D.I. 15), showing the infringement of the ‘183 Patent by the Minerva

  Endometrial Ablation System. On information and belief, Defendant has and continues to

  directly infringe the claims of the ‘183 Patent by using in the United States the Minerva

  Endometrial Ablation System during its own testing and trials of the system. For example,

  Minerva’s testing and use of the Minerva Endometrial Ablation System is demonstrated by the

  system’s Operator’s Manual that warns physician customers to follow Minerva’s precise

  instructions of use. Further, on information and belief, Defendant tests and trials the Minerva

  Endometrial Ablation System, including with physicians employed by or consulting with

  Minerva to treat patients by ablating the uterine walls and by detecting for a perforation in a

  uterus to perform the steps claimed in the ‘183 Patent.

         33. On information and belief, Defendant has indirectly infringed and continues to

  indirectly infringe the ‘183 Patent in violation of 35 U.S.C. § 271. On information and belief,

  Defendant’s customers, namely physicians and staff conducting the ablation procedure on

  patients, directly infringe at least claims 1-7, 9, 11, and 13-15 of the ‘183 Patent by practicing the

  claimed method. On information and belief, Defendant has knowingly induced infringement and

  has had a specific intent to induce infringement of the ‘183 Patent by their activities relating to

  the marketing, sales, support, and distribution of the Minerva Endometrial Ablation System,

  including, for example without limitation, providing through Defendant’s website video and

  print instructions to use the Minerva Endometrial Ablation System in a manner that infringes one

  or more claims of the ‘183 Patent. Further, Defendant has knowingly induced infringement and

  has had a specific intent to induce infringement of the ‘183 Patent by their organization of trial

  usage of the Minerva Endometrial Ablation System. Defendant’s representatives have organized



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  trials with potential customers, namely physicians and hospital staff, whereby Defendant’s

  representatives instruct physicians and staff to use the Minerva Endometrial Ablation System as

  claimed in the ‘183 Patent. Minerva representatives participate in the trials with the physicians

  in the ordinary course of marketing the Minerva Endometrial Ablation System to new customers.

  At these trials, a Minerva representative works with the physician to treat actual patients,

  whereby the use of the Minerva Endometrial Ablation System will ablate the uterine walls and

  detect for a perforation in the patient’s uterus, as claimed by the ‘183 Patent. On information

  and belief, Defendant has contributed to infringement by selling and/or offering to sell within the

  United States, or importing into the United States, the Minerva Endometrial Ablation System

  knowing the same to be especially made or especially adapted for use in the infringement of one

  or more claims of the ‘183 Patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use. With knowledge of the ‘183 Patent, Defendant especially made

  or especially adapted for use its Minerva Endometrial Ablation System to ablate the endometrial

  lining of the uterus and to detect for a perforation in the uterus, as claimed in the ‘183 Patent,

  while Defendant knowing that this system would not have any substantial non-infringing uses.

         34. On information and belief, Defendant’s infringement has been and continues to be

  willful, making this an exceptional case under 35 U.S.C. § 285 and entitling Plaintiffs to treble

  damages under 35 U.S.C. § 284.

         35. As a result of Defendant’s infringement of the ‘183 Patent, Plaintiffs have suffered

  and continues to suffer damages.

         36. Defendant’s infringement of the ‘183 Patent has caused and will continue to cause

  Plaintiffs irreparable injury for which there is no adequate remedy at law, unless this Court

  enjoins such infringing acts.



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                                              COUNT II

                           (Defendant’s Infringement of the ‘898 Patent)

         37. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.

         38. On April 7, 2015, the USPTO duly and legally issued the ‘898 Patent, entitled

  “Moisture Transport System for Contact Electrocoagulation” to Csaba Truckai, Russel M.

  Sampson, Stephanie Squarcia, Alfonso L. Ramirez, Estela Hilario, and David C. Auth as

  inventors. A true and correct copy of the ‘898 Patent is attached as Exhibit C.

         39. Prior to January 15, 2016 and prior to the filing of the original Complaint in the

  instant case, Cytyc was the assignee and lawful owner of all right, title, and interest in and to the

  ‘898 Patent. At the time of the filing of the original Complaint and continuing without

  interruption to the present day, Cytyc has been owned by Hologic and under Hologic’s control,

  and Hologic thus has enjoyed the unfettered rights to practice, enforce, and assign the ‘898

  patent. As of January 15, 2016, Cytyc assigned the ‘898 Patent to Hologic pursuant to Hologic’s

  direction.

         40. Plaintiffs have complied with the notice requirements of 35 U.S.C. § 287 with

  respect to products that it manufactures and sells under the ‘898 Patent.

         41. Defendant has had knowledge of the ‘898 Patent since at least the filing of the

  original Complaint of the instant case and knew or should have known that the sale, offer for

  sale, use, manufacture, and/or importation of the Minerva Endometrial Ablation System would

  infringe one or more claims of the ‘898 Patent. On information and belief, Defendant has had

  knowledge of the ‘898 Patent before the filing of the original Complaint for at least the reason




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  that Defendant’s founder Mr. Csaba Truckai is a named inventor of the ‘898 Patent and another

  named inventor Mr. David C. Auth is on the Board of Directors of Defendant.

         42. On information and belief, Defendant was aware that Plaintiffs’ NovaSure® system

  embodied the claimed invention of the ‘898 Patent and knew or should have known that

  Defendant’s products, including the Minerva Endometrial Ablation System, infringed one or

  more claims of the ‘898 Patent due to their substantially similar designs. Defendant has

  represented to potential customers that Defendant’s personnel formerly worked on the

  NovaSure® system.

         43. On information and belief, Defendant has infringed and continues to infringe,

  literally and/or through the doctrine of equivalents, the ‘898 Patent in violation of

  35 U.S.C. § 271 by making, using, selling, offering to sell, and/or importing into the United

  States for subsequent sale or use products, services, methods, or processes that are covered by at

  least claims 1-6, 8, and 14-16 of the ‘898 Patent. On information and belief, such devices

  include, but are not limited to, the Minerva Endometrial Ablation System. At Exhibit F,

  Plaintiffs attach a claim chart, which is excerpted from the Declaration of William Lucas

  Churchill in support of Plaintiffs’ Motion for a Preliminary Injunction (D.I. 27) (redacted version

  of Sealed Declaration, D.I. 15), showing the infringement of the ‘898 Patent by the Minerva

  Endometrial Ablation System. On information and belief, Defendant has and continues to

  directly infringe the claims of the ‘898 Patent by using in the United States the Minerva

  Endometrial Ablation System during its own tests and trials of the system. For example,

  Minerva’s testing and use of the Minerva Endometrial Ablation System is demonstrated by the

  system’s Operator’s Manual that warns physician customers to follow Minerva’s precise

  instructions of use. Further, on information and belief, Defendant tests and trials the Minerva



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  Endometrial Ablation System, including with physicians employed by or consulting with

  Minerva to treat patients by ablating the uterine walls to perform the steps claimed in the ‘898

  Patent.

            44. On information and belief, Defendant has indirectly infringed and continues to

  indirectly infringe the ‘898 Patent in violation of 35 U.S.C. § 271. On information and belief,

  Defendant’s customers, namely physicians and staff conducting the ablation procedure on

  patients, directly infringe at least claims 1-6, 8, and 14-16 of the ‘898 Patent by practicing the

  claimed method. On information and belief, Defendant has knowingly induced infringement and

  have had a specific intent to induce infringement of the ‘898 Patent by their activities relating to

  the marketing, sales, support, and distribution of the Minerva Endometrial Ablation System,

  including, for example without limitation, providing video and print instructions to use the

  Minerva Endometrial Ablation System in a manner that infringes one or more claims of the ‘898

  Patent. Further, Defendant has knowingly induced infringement and has had a specific intent to

  induce infringement of the ‘898 Patent by their organization of trial usage of the Minerva

  Endometrial Ablation System. Defendant’s representatives have organized trials with potential

  and existing customers, namely physicians and hospital staff, whereby Defendant’s

  representatives instruct physicians and staff to use the Minerva Endometrial Ablation System as

  claimed in the ‘898 Patent. Minerva representatives participate in the trials with the physicians

  in the ordinary course of marketing the Minerva Endometrial Ablation System to new customers.

  At these trials, a Minerva representative works with the physician to treat actual patients,

  whereby the use of the Minerva Endometrial Ablation System will ablate the uterine walls, as

  claimed by the ‘898 Patent. On information and belief, Defendant has contributed to

  infringement by selling and/or offering to sell within the United States, or importing into the



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  United States, the Minerva Endometrial Ablation System knowing the same to be especially

  made or especially adapted for use in the infringement of one or more claims of the ‘898 Patent

  and not a staple article or commodity of commerce suitable for substantial non-infringing use.

  With knowledge of the ‘898 Patent, Defendant especially made or especially adapted for use its

  Minerva Endometrial Ablation System to ablate the endometrial lining of the uterus, as claimed

  in the ‘898 Patent, while Defendant knowing that this system would not have any substantial

  non-infringing uses.

         45. On information and belief, Defendant’s infringement has been and continues to be

  willful, making this an exceptional case under 35 U.S.C. § 285 and entitling Plaintiffs to treble

  damages under 35 U.S.C. § 284.

         46. As a result of Defendant’s infringement of the ‘898 Patent, Plaintiffs have suffered

  and continues to suffer damages.

         47. Defendant’s infringement of the ‘898 Patent has caused and will continue to cause

  Plaintiffs irreparable injury for which there is no adequate remedy at law, unless this Court

  enjoins such infringing acts.

                                             COUNT III

                           (Defendant’s Infringement of the ‘348 Patent)

         48. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.

         49. On August 4, 2015, the USPTO duly and legally issued the ‘348 Patent, entitled

  “Moisture Transport System for Contact Electrocoagulation” to Csaba Truckai, Russel M.

  Sampson, Stephanie Squarcia, Alfonso L. Ramirez, and Estela Hilario as inventors. A true and

  correct copy of the ‘348 Patent is attached as Exhibit D.



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         50. Prior to January 15, 2016 and prior to the filing of the original Complaint in the

  instant case, Cytyc was the assignee and lawful owner of all right, title, and interest in and to the

  ‘348 Patent. At the time of the filing of the original Complaint and continuing without

  interruption to the present day, Cytyc was owned by Hologic and under Hologic’s control, and

  Hologic thus has enjoyed the unfettered rights to practice, enforce, and assign the ‘348 patent.

  As of January 15, 2016, Cytyc assigned the ‘348 Patent to Hologic pursuant to Hologic’s

  direction.

         51. Plaintiffs have complied with the notice requirements of 35 U.S.C. § 287 with

  respect to products that it manufactures and sells under the ‘348 Patent.

         52. Defendant has had knowledge of the ‘348 Patent since at least the filing of the

  original Complaint in the instant case and knew or should have known that the sale, offer for

  sale, use, manufacture, and/or importation of the Minerva Endometrial Ablation System would

  infringe one or more claims of the ‘348 Patent. On information and belief, Defendant has had

  knowledge of the ‘348 Patent before the filing of the original Complaint because, for example,

  Defendant’s founder Mr. Csaba Truckai is a named inventor of the ‘348 Patent.

         53. On information and belief, Defendant was aware that Plaintiffs’ NovaSure® system

  embodied the claimed invention of the ‘348 Patent and knew or should have known that

  Defendant’s products, including the Minerva Endometrial Ablation System, infringed one or

  more claims of the ‘348 Patent due to their substantially similar designs. Defendant has

  represented to potential customers that Defendant’s personnel formerly worked on the

  NovaSure® system.

         54. On information and belief, Defendant has infringed and continues to infringe,

  literally and/or through the doctrine of equivalents, the ‘348 Patent in violation of 35 U.S.C.



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  § 271 by making, using, selling, offering to sell, and/or importing into the United States for

  subsequent sale or use products that are covered by at least claims 1, 3, and 8-10 of the ‘348

  Patent. On information and belief, such devices include, but are not limited to, the Minerva

  Endometrial Ablation System. At Exhibit G, Plaintiffs attach a claim chart, which is excerpted

  from the Declaration of William Lucas Churchill in support of Plaintiffs’ Motion for a

  Preliminary Injunction (D.I. 27) (redacted version of Sealed Declaration, D.I. 15), showing the

  infringement of the ‘348 Patent by the Minerva Endometrial Ablation System.

         55. On information and belief, Defendant has indirectly infringed and continues to

  indirectly infringe the ‘348 Patent in violation of 35 U.S.C. § 271. On information and belief,

  Defendant’s customers, namely physicians and staff conducting the ablation procedure on

  patients, directly infringe at least claims 1, 3, and 8-10 of the ‘348 Patent by using the claimed

  apparatus. On information and belief, Defendant has knowingly induced infringement and have

  had a specific intent to induce infringement of the ‘348 Patent by their activities relating to the

  marketing, sales, support, and distribution of the Minerva Endometrial Ablation System,

  including, for example without limitation, providing video and print instructions to use the

  Minerva Endometrial Ablation System in a manner that infringes one or more claims of the ‘348

  Patent. Further, Defendant has knowingly induced infringement and has had a specific intent to

  induce infringement of the ‘348 Patent by their organization of trial usage of the Minerva

  Endometrial Ablation System. Defendant’s representatives have organized trials with potential

  and existing customers, namely physicians and hospital staff, whereby Defendant’s

  representatives instruct physicians and staff to use the Minerva Endometrial Ablation System as

  claimed in the ‘348 Patent. Minerva representatives participate in the trials with the physicians

  in the ordinary course of marketing the Minerva Endometrial Ablation System to new customers.



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  At these trials, a Minerva representative works with the physician to treat actual patients,

  whereby Minerva Endometrial Ablation System will treat the uterine walls, as claimed by the

  ‘348 Patent. On information and belief, Defendant has contributed to infringement by selling

  and/or offering to sell within the United States, or importing into the United States, the Minerva

  Endometrial Ablation System knowing the same to be especially made or especially adapted for

  use in the infringement of one or more claims of the ‘348 Patent and not a staple article or

  commodity of commerce suitable for substantial non-infringing use. With knowledge of the

  ‘348 Patent, Defendant especially made or especially adapted for use its Minerva Endometrial

  Ablation System to treat the endometrial lining of the uterus, as claimed in the ‘348 Patent, while

  Defendant knowing that this system would not have any substantial non-infringing uses.

         56. On information and belief, Defendant’s infringement has been and continues to be

  willful, making this an exceptional case under 35 U.S.C. § 285 and entitling Plaintiffs to treble

  damages under 35 U.S.C. § 284.

         57. As a result of Defendant’s infringement of the ‘348 Patent, Plaintiffs have suffered

  and continues to suffer damages.

         58. Defendant’s infringement of the ‘348 Patent has caused and will continue to cause

  Plaintiffs irreparable injury for which there is no adequate remedy at law, unless this Court

  enjoins such infringing acts.

                                             COUNT IV

                          (Unfair Competition Under 15 U.S.C. § 1125(a))

         59. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.




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          60. Defendant has used and continues to use a false designation of origin and false or

  misleading description of facts in connection with its marketing and/or sale of the Minerva

  Endometrial Ablation System, including without limitation, by and through its false and

  misleading description of the Minerva Endometrial Ablation System as the new NovaSure® and

  as being made by the makers of NovaSure®.

          61. Defendant markets and/or sells its Endometrial Ablation System throughout the

  United States and travels in interstate commerce.

          62. Defendant’s conduct has caused and continues to cause confusion or mistake, or has

  deceived and continues to deceive existing Hologic customers as to the origin, sponsorship, or

  approval of the Minerva Endometrial Ablation System by Plaintiffs.

          63. Defendant’s conduct has caused and continues to cause confusion or mistake, or has

  deceived and continues to deceive existing Hologic customers as to the affiliation, connection, or

  association of Defendant with Plaintiffs.

          64. Defendant’s conduct constitutes unfair competition in violation of 15 U.S.C.

  § 1125(a).

          65. As a result of Defendant’s false designation of origin and false or misleading

  description of facts, Plaintiffs have suffered and continue to suffer damages, including without

  limitation, by a loss of sales.

          66. On information and belief, Defendant’s false designation of origin and false or

  misleading description of facts has been and continues to be willful, making this an exceptional

  case and entitling Plaintiffs to recover Defendant’s profits on sales of the Minerva Endometrial

  Ablation System, actual and enhanced damages, and costs Plaintiffs incurred in prosecuting its

  claims, pursuant to 15 U.S.C. § 1117(a).



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         67. Defendant’s false designation of origin and false or misleading description of facts

  has caused and will continue to cause Plaintiffs irreparable injury for which there is no adequate

  remedy at law, unless this Court enjoins Defendant’s false and misleading statements pursuant to

  15 U.S.C. § 1116(a).

                                              COUNT V

                         (Deceptive Trade Practice Under 6 Del. C. § 2532)

         68. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.

         69. Defendant, in the course of its business, has caused and continues to cause likelihood

  of confusion or of misunderstanding as to the source, sponsorship, approval, or certification of

  the Minerva Endometrial Ablation System, including without limitation, by and through its false

  and misleading description of the Minerva Endometrial Ablation System as the new NovaSure®

  and as being made by the makers of NovaSure®.

         70. Defendant, in the course of its business, has caused and continues to cause likelihood

  of confusion or of misunderstanding as to affiliation, connection, or association with Plaintiffs,

  including without limitation, by and through its false and misleading description of the Minerva

  Endometrial Ablation System as the new NovaSure® and as being made by the makers of

  NovaSure®.

         71. On information and belief, Defendant, in the course of its business, has engaged in

  and continues to engage in conduct that disparages the prior NovaSure® systems, including

  without limitation, by and through its false and misleading representation that the Minerva

  Endometrial Ablation System is a new or updated NovaSure® system that addresses prior

  weaknesses or detriments.



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         72. On information and belief, Defendant, in the course of its business, has engaged in

  and continues to engage in conduct that causes likelihood of confusion or of misunderstanding,

  including without limitation, by and through its false and misleading description of the Minerva

  Endometrial Ablation System as the new NovaSure® and as being made by the makers of

  NovaSure®.

         73. On information and belief, in the course of its business, Defendant, by and through

  its false and misleading representations of fact and conduct, has engaged in and continues to

  engage in deceptive trade practices in violation of 6 Del. C. § 2532, including without limitation

  by its activities in Delaware offering for sale the Minerva Endometrial Ablation System.

         74. As a result of Defendant’s conduct, Plaintiffs have suffered and continue to suffer

  damages including without limitation by a loss of sales.

         75. The principles of equity favor this Court enjoining Defendant’s conduct pursuant to

  6 Del. C. § 2533(a).

         76. On information and belief, Defendant’s conduct has been and continues to be willful,

  making this an exceptional case under 6 Del. C. § 2533(b) and entitling Plaintiffs to attorneys’

  fees and costs incurred in prosecuting its claims.

         77. Plaintiffs are entitled to damages under the Delaware common law thereby entitling

  Plaintiffs to treble damages under 6 Del. C. § 2533(c).

                                             COUNT VI

                          (Unfair Competition -- Delaware Common Law)

         78. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.




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         79. Plaintiffs had a reasonable expectancy of entering and continuing its valid business

  relationships with its existing and prospective customers.

         80. On information and belief, Defendant wrongfully interfered with those business

  relationships by targeting Plaintiffs’ existing customers and (i) using a false designation of origin

  and false or misleading description of facts in connection with its marketing and/or sale of the

  Minerva Endometrial Ablation System; (ii) causing likelihood of confusion or of

  misunderstanding as to the source, sponsorship, approval, or certification of the Minerva

  Endometrial Ablation System; (iii) causing likelihood of confusion or of misunderstanding as to

  affiliation, connection, or association with Plaintiffs; (iv) disparaging the prior NovaSure®

  systems; and (v) engaging in conduct that causes likelihood of confusion or of misunderstanding,

  including without limitation, by and through its false and misleading description of the Minerva

  Endometrial Ablation System as the new NovaSure® and as being made by the makers of

  NovaSure®.

         81. Defendant has used and continues to use a false designation of origin and false or

  misleading description of facts in connection with its marketing and/or sale of the Minerva

  Endometrial Ablation System by and through its false and misleading description of the Minerva

  Endometrial Ablation System as the new NovaSure® and as being made by the makers of

  NovaSure®.

         82. Defendant’s conduct has caused and continues to cause confusion or mistake, or has

  deceived and continues to deceive existing Hologic customers as to the origin, sponsorship, or

  approval of the Minerva Endometrial Ablation System by Plaintiffs.




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         83. Defendant’s conduct has caused and continues to cause confusion or mistake, or has

  deceived and continues to deceive existing Hologic customers as to the affiliation, connection, or

  association of Defendant with Plaintiffs.

         84. Defendant’s conduct has been and continues to be willful and has been and

  continues to be undertaken with the purpose of deceiving customers and appropriating Plaintiffs’

  goodwill.

         85. On information and belief, Defendant’s conduct constitutes unfair competition under

  the common law, including without limitation by its activities in Delaware offering for sale the

  Minerva Endometrial Ablation System.

         86. As a result of Defendant’s misconduct, Plaintiffs have suffered and continue to

  suffer economic harm, including without limitation by a loss of sales. As a result of Defendant’s

  misconduct, Defendant has caused and will continue to cause customer confusion or

  misunderstanding and has caused and will continue to cause damage to Plaintiffs’ goodwill with

  customers.

         87. Defendant’s misconduct has caused and will continue to cause Plaintiffs irreparable

  injury for which there is no adequate remedy at law, unless this Court enjoins such unfair

  conduct.

                                              COUNT VII

        (Tortious Interference With A Business Relationship -- Delaware Common Law)

         88. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.

         89. Plaintiffs had a reasonable expectancy of entering and continuing its valid business

  relationships with its existing and prospective customers.



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         90. On information and belief, Defendant had knowledge of Plaintiffs’ business

  relationships with its existing customers by, among other things, employing Plaintiffs’ former

  NovaSure® sales representatives and former executives of Plaintiffs.

         91. On information and belief, Defendant intentionally interfered with those business

  relationships by targeting Plaintiffs’ existing customers and (i) using a false designation of origin

  and false or misleading description of facts in connection with its marketing and sale of the

  Minerva Endometrial Ablation System; (ii) causing likelihood of confusion or of

  misunderstanding as to the source, sponsorship, approval, or certification of the Minerva

  Endometrial Ablation System; (iii) causing likelihood of confusion or of misunderstanding as to

  affiliation, connection, or association with Plaintiffs; (iv) disparaging the prior NovaSure®

  systems; and (v) engaging in conduct that causes likelihood of confusion or of misunderstanding,

  including without limitation, by and through its false and misleading description of the Minerva

  Endometrial Ablation System as the new NovaSure® and as being made by the makers of

  NovaSure®.

         92. Defendant, by and through its false and misleading description of facts and conduct,

  has engaged in and continues to engage in wrongful conduct in violation of the Lanham Act, 15

  U.S.C. § 1125(a), and the Delaware Deceptive Trade Practices Act, 6 Del. C. § 2532.

         93. As a result of Defendant’s misconduct, Defendant has caused and will continue to

  cause customer confusion or misunderstanding and has caused and will continue to cause

  damage to Plaintiffs’ goodwill with customers.

         94. On information and belief, Defendant’s conduct constitutes tortious interference with

  a business relationship under the common law, including without limitation by its activities in

  Delaware offering for sale the Minerva Endometrial Ablation System.



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         95. As a result of Defendant’s intentional interference, Plaintiffs have suffered and

  continue to suffer economic harm, including without limitation by a loss of sales.

         96. Defendant’s actions have been and continue to be willful and have been and

  continue to be undertaken with the purpose of deceiving customers.

         97. Defendant’s intentional interference has caused and will continue to cause Plaintiffs

  irreparable injury for which there is no adequate remedy at law, unless this Court enjoins such

  conduct.

                                             COUNT VIII

                           (Defendant’s Infringement of the ‘989 Patent)

         98. Plaintiffs repeat and reallege each and every allegation set forth in the preceding

  paragraphs as if fully set forth herein.

         99. On February 2, 2016, the USPTO duly and legally issued the ‘989 Patent, entitled

  “Moisture Transport System for Contact Electrocoagulation” to Csaba Truckai as inventor. A

  true and correct copy of the ‘989 Patent is attached as Exhibit H.

         100. Cytyc is the assignee and lawful owner of all right, title, and interest in and to the

  ‘989 Patent.

         101. Defendant has had knowledge of the ‘989 Patent since at least the filing of this

  Second Amended Complaint in the instant case and knew or should have known that the sale,

  offer for sale, use, manufacture, and/or importation of the Minerva Endometrial Ablation System

  would infringe one or more claims of the ‘989 Patent.

         102. On information and belief, Defendant is aware that Plaintiffs’ NovaSure® system

  embodies the claimed invention of the ‘989 Patent and is aware that Defendant’s products,




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  including the Minerva Endometrial Ablation System, infringes one or more claims of the ‘989

  Patent due to their substantially similar designs.

         103. On information and belief, Defendant infringes, literally and/or through the

  doctrine of equivalents, the ‘989 Patent in violation of 35 U.S.C. § 271 by making, selling,

  offering to sell, and/or importing into the United States for subsequent sale or use products,

  services, methods, or processes that are covered by at least claims 1-11, and 13 of the ‘989

  Patent. On information and belief, such devices include, but are not limited to, the Minerva

  Endometrial Ablation System. On information and belief, Defendant indirectly infringes the

  ‘989 Patent in violation of 35 U.S.C. § 271. On information and belief, Defendant’s customers,

  namely physicians and staff conducting the ablation procedure on patients, directly infringe at

  least claims 1-11, and 13 of the ‘989 Patent by practicing the claimed method. On information

  and belief, Defendant knowingly induces infringement and has specific intent to induce

  infringement of the ‘989 Patent by their activities relating to the marketing, sales, support, and

  distribution of the Minerva Endometrial Ablation System, including, for example without

  limitation, providing video and print instructions to use the Minerva Endometrial Ablation

  System in a manner that infringes one or more claims of the ‘989 Patent. Further, Defendant

  knowingly induces infringement and has specific intent to induce infringement of the ‘989 Patent

  by their organization of trial usage of the Minerva Endometrial Ablation System. Defendant’s

  representatives organize trials with potential and existing customers, namely physicians and

  hospital staff, whereby Defendant’s representatives instruct physicians and staff to use the

  Minerva Endometrial Ablation System as claimed in the ‘989 Patent. Minerva representatives

  participate in the trials with the physicians in the ordinary course of marketing the Minerva

  Endometrial Ablation System to new customers. At these trials, a Minerva representative works



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  with the physician to treat actual patients, whereby the use of the Minerva Endometrial Ablation

  System will perform endometrial ablation, as claimed by the ‘989 Patent. On information and

  belief, Defendant contributes to infringement by selling and/or offering to sell within the United

  States, or importing into the United States, the Minerva Endometrial Ablation System knowing

  the same to be especially made or especially adapted for use in the infringement of one or more

  claims of the ‘989 Patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use. With knowledge of the ‘989 Patent, Defendant especially makes

  or especially adapts for use its Minerva Endometrial Ablation System to perform endometrial

  ablation, as claimed in the ‘989 Patent, while Defendant knowing that this system would not

  have any substantial non-infringing uses.

         104. On information and belief, Defendant’s infringement is willful, making this an

  exceptional case under 35 U.S.C. § 285 and entitling Plaintiffs to treble damages under 35

  U.S.C. § 284.

         105. As a result of Defendant’s infringement of the ‘989 Patent, Plaintiffs continue to

  suffer damages.

         106. Defendant’s infringement of the ‘989 Patent continues to cause Plaintiffs

  irreparable injury for which there is no adequate remedy at law, unless this Court enjoins such

  infringing acts.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:

         1.   Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant has and continues to directly infringe and indirectly infringe (by

  inducement and contributory infringement) one or more claims of the ‘183 Patent;



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             2.   Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant’s infringement of the ‘183 Patent has been and continues to be

  willful;

             3.   Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant has and continues to directly infringe and indirectly infringe (by

  inducement and contributory infringement) one or more claims of the ‘898 Patent;

             4.   Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant’s infringement of the ‘898 Patent has been and continues to be

  willful;

             5.   Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant has and continues to directly infringe and indirectly infringe (by

  inducement and contributory infringement) one or more claims of the ‘348 Patent;

             6.   Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant’s infringement of the ‘348 Patent has been and continues to be

  willful;

             7.   A preliminary and permanent injunction against Defendant Minerva Surgical, Inc.

  for infringement of the Patents-in-Suit;

             8.   Judgment awarding Plaintiffs Hologic and Cytyc damages adequate to compensate

  for Defendant Minerva Surgical, Inc.’s infringement of the Patents-in-Suit in an amount to be

  proven at trial, together with pre-judgment and post-judgment interest and costs, as fixed by the

  Court;

             9.   Judgment enhancing the damages due to Defendant Minerva Surgical, Inc.’s willful

  infringement, pursuant to 35 U.S.C. § 284;



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            10. Judgment declaring that this is an exceptional case under 35 U.S.C. § 285 and

  awarding Hologic and Cytyc their attorneys’ fees and costs incurred in prosecuting its claims;

            11. Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant has and continues to engage in unfair competition under 15 U.S.C.

  § 1125(a);

            12. A preliminary and permanent injunction against Defendant Minerva Surgical, Inc.

  restraining Defendant from making any false designation of origin in connection with its sales of

  the Minerva Endometrial Ablation System, pursuant to 15 U.S.C. § 1116(a);

            13. Under 15 U.S.C. § 1117(a), awarding Plaintiffs Hologic and Cytyc: (i) Defendant’s

  profits on sales of the Minerva Endometrial Ablation System; (ii) damages adequate to

  compensate for Defendant Minerva Surgical, Inc.’s unfair competition in an amount to be proven

  at trial, together with pre-judgment and post-judgment interest and costs, as fixed by the Court;

  and (iii) enhanced damages and Plaintiffs’ attorneys’ fees and costs incurred in prosecuting their

  claims;

            14. Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant has and continues to engage in deceptive trade practices under

  Delaware statutory law, and common law unfair competition and/or common law tortious

  interference with a business relationship under Delaware law;

            15. A preliminary and permanent injunction against Defendant Minerva Surgical, Inc.

  restraining Defendant from engaging in deceptive trade practices and unfair competition and

  from interfering with Plaintiffs’ business relationships;

            16. Judgment awarding Plaintiffs Hologic and Cytyc damages adequate to compensate

  for Defendant Minerva Surgical, Inc.’s unfair competition and tortious interference with a



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  business relationship in an amount to be proven at trial, together with pre-judgment and post-

  judgment interest and costs, as fixed by the Court;

         17. Judgment declaring this an exceptional case under 6 Del. C. § 2533(b) and awarding

  Plaintiffs Hologic and Cytyc its attorneys’ fees and costs incurred in prosecuting its claims;

         18. Judgment enhancing the damages due to Defendant Minerva Surgical, Inc. engaging

  in unfair competition and interfering with Plaintiffs’ business relationships in addition to

  engaging in deceptive trade practices, pursuant to 6 Del. C. § 2533(c), and/or due to Defendant’s

  willful conduct

         19. Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant indirectly infringes (by inducement and contributory infringement)

  one or more claims of the ‘989 Patent;

         20. Judgment in favor of Plaintiffs Hologic and Cytyc, and against Defendant Minerva

  Surgical, Inc., that Defendant’s infringement of the ‘989 Patent is willful; and

         21. Such other relief as this Court deems just and proper.

                                           JURY DEMAND

         Plaintiffs demand a trial by jury in this action on all issues so triable.




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  DATED: February 4, 2016           YOUNG CONAWAY STARGATT & TAYLOR LLP

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                    EXHIBIT A
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  Endometrial Ablation System


                    Operator’s Manual
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                                            Operator’s Manual

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  CAUTION: FEDERAL (USA) LAW RESTRICTS THIS DEVICE TO SALE BY OR ON THE ORDER OF A
                PHYSICIAN TRAINED IN THE USE OF THE MINERVA SYSTEM.

  READ ALL INSTRUCTIONS, CAUTIONS AND WARNINGS PRIOR TO USE.

  FAILURE TO FOLLOW ANY INSTRUCTIONS OR TO HEED ANY WARNINGS OR PRECAUTIONS
  COULD RESULT IN SERIOUS PATIENT INJURY.

  THE MINERVA DISPOSABLE HANDPIECE MUST BE USED ONLY IN CONJUNCTION WITH THE
  MINERVA RF CONTROLLER AND THE MINERVA RF CONTROLLER MUST BE USED ONLY IN
  CONJUNCTION WITH THE MINERVA DISPOSABLE HANDPIECE.

  THE MINERVA DISPOSABLE HANDPIECE IS NOT MADE FROM NATURAL RUBBER LATEX.

  1.0 PHYSICIAN CHECKLIST
      The Physician must:
         • Have sufficient and adequate experience in performing procedures in the uterine cavity, such
             as IUD insertion or dilation and curettage (D&C) and hysteroscopy.
         • Review and be familiar with the Instructions for Use (IFU).
         • Be aware of the appropriate sequence of actions detailed in this Operator’s Manual and the
             troubleshooting section in the event the system detects a high CO2 flow rate during the
             Uterine Integrity Test, which may be indicative of a uterine perforation.
         • Review the patient selection criteria for the Minerva clinical trials to determine which patients
             are appropriate for the Minerva procedure.

      Adjunct personnel must be familiar with this Operator’s Manual and other educational materials prior
      to using the Minerva Endometrial Ablation System.

  2.0 SYSTEM DESCRIPTION
      The Minerva Endometrial Ablation System is designed to treat abnormal uterine bleeding due to
      benign causes in pre-menopausal women for whom childbearing is complete. The System features a
      Minerva Disposable Handpiece which is positioned trans-cervically in the uterine cavity and
      connected to the Minerva RF Controller to deliver RF energy to ablate the endometrial lining of the
      uterus.

      The Minerva Endometrial Ablation System is to be used by gynecologists with experience in
      performing blind intra-uterine manipulations and procedures.

      The Minerva Endometrial Ablation System is a bipolar RF system that uses high voltage radio
      frequency (RF) electrical current at a frequency of 480 kHz to ionize argon gas that is fully contained
      and circulated within a sealed silicone membrane of the Plasma Formation Array (PFA). This
      stretchable silicone membrane is deployed in the uterine cavity. When the system is energized, the
      argon gas is ionized, turning it into plasma. It is this argon plasma that heats the interior surface of
      the silicone membrane. This energy, in the form of heat, is conducted through the silicone membrane
      to the tissue in contact with the membrane.

      The combination of the heat conducted through the membrane wall from the plasma to the adjacent
      endometrial tissue, retained heated intra-cavitary moisture that fills gaps outside the array and a small
      amount of bipolar RF current travelling through the target tissue (and resultant heat), results in the
      ablation of endometrial tissue.

      The Minerva Endometrial Ablation System consists of the Minerva Disposable Handpiece (with
      Desiccant), the Minerva RF Controller (with Footswitch and Power Cord), an argon (Ar) canister and




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     a carbon dioxide (CO2) canister. Figure 1 shows the Minerva Disposable Handpiece and Minerva RF
     Controller.




                      Figure 1: Minerva Disposable Handpiece and RF Controller

              2.1      Minerva Disposable Handpiece
                The Minerva Disposable Handpiece (Figure 2) is a single-patient, single-use component
                of the Minerva Endometrial Ablation System.




                               Figure 2: Minerva Disposable Handpiece

                The Minerva Disposable Handpiece consists of the following:

                •   Plasma Formation Array (PFA): The PFA consists of an expandable metal frame,
                    covered by a stretchable silicone membrane. The PFA is opened by a deployment
                    mechanism using the handle, and the expanded frame acts as the internal electrode
                    inside the membrane. A single tissue contacting electrode resides on the outer
                    surface of the membrane. The final expanded triangular shaped PFA is intended to
                    conform to the patient’s uterine cavity (Figure 3). Argon gas inside the membrane is
                    ionized by the RF energy delivered by the internal electrode. The RF current path
                    extends through the internal electrode and is capacitively coupled through the



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                  membrane and uterine tissue to the single external electrode on the membrane
                  surface. The heat generated from the ionized argon plasma allows for the controlled
                  transfer of energy to the uterus for the purpose of endometrial tissue ablation. Intra-
                  cavitary moisture is not removed during the energy delivery process. Argon gas is
                  fully contained within the Minerva Disposable Handpiece silicone membrane and is
                  not released into the uterine cavity during the ablation procedure.




                              Figure 3: Plasma Formation Array (PFA)

              •   Cervical Sheath: The Cervical Sheath contains the argon and CO2 gas inflow/outflow
                  circuits, electrical connections, insulation and mechanical connection between the
                  PFA and the handle.
              •   Cervical Sealing Balloon: The Cervical Sealing Balloon is mounted on the outside of
                  the Cervical Sheath and moves with the sheath when setting the PFA length sheath
                  lock. When the sheath is locked to the calculated PFA length, the Cervical Sealing
                  Balloon is positioned at the internal os to seal the uterine cavity for the Uterine
                  Integrity Test (UIT) and to insulate the endocervical canal from possible thermal
                  damage during the ablation cycle.
              •   Array Opening Indicator: This Red/Green Indicator is a mechanism which displays
                  the progression of the PFA deployment/opening and does not indicate a dimension of
                  the uterus.
              •   Handle: The handle assembly enables the deployment of the PFA. Additionally, the
                  handle serves to electrically and pneumatically connect power and gas from the RF
                  Controller to the PFA.
              •   Connecting Cord: The connecting cord consists of lumens for gas transfer and
                  electrical power from the Minerva RF Controller to the Minerva Disposable
                  Handpiece, as well as a proprietary connector. It also includes gas filters and a
                  desiccant to prevent moisture from entering the RF Controller.

            2.2     Minerva RF Controller
              The Minerva RF Controller (Figure 4 and Figure 5) is a controlled radio frequency (RF)
              power generator. The power provided to the Minerva Disposable Handpiece by the
              Minerva RF Controller is varied according to electro-physical changes in impedance
              characteristics of the uterine cavity during the ablation process. The system emits a
              maximum effective RF power of 40W at 480 kHz to perform its intended function. The
              Minerva RF Controller also controls the delivery of argon gas to the Minerva Disposable
              Handpiece. In addition, the Minerva RF Controller has a uterine integrity test (UIT)
              feature designed to assess possible defects of the uterus or the PFA using the
              introduction of CO2 gas. The Minerva RF Controller includes a touch screen display and
              a footswitch. The Minerva RF Controller incorporates connections for the argon and CO2
              gas canisters on the back of the unit. The USB connection on the back of the unit is for
              use only by Minerva Surgical personnel. Handles located on the back of the unit facilitate
              transportation of the Minerva RF Controller.




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                    1. Power On LED                             4. Footswitch Receptacle
                    2. RF On LED                                5. Touch Screen Display
                    3. FAULT LED                                6. Disposable Handpiece Receptacle

                             Figure 4: Minerva RF Controller Front Panel




                    7.   ON/OFF Switch                          11.   Argon Canister
                    8.   Fuse Drawer                            12.   Argon and CO2 Regulators
                    9.   Power Receptacle                       13.   CO2 Canister
                   10.   Equipotential Ground Lug               14.   USB Connector

                              Figure 5: Minerva RF Controller Back Panel




            2.3     Desiccant
              The Minerva desiccant is a non-sterile, single-patient use component that the user
              attaches in-line with the argon return line, prior to connecting the Minerva Disposable
              Handpiece to the Minerva RF Controller.




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                2.4     CO2 Canister
                  The Minerva CO2 canister is a 24-gram, CO2 canister. It is attached to the regulator
                  located on the back panel of the Minerva RF Controller.

                2.5     Argon (Ar) Canister
                  The Minerva argon canister is a 25-gram, argon canister. It is attached to the regulator
                  located on the back panel of the Minerva RF Controller prior to applying line voltage to
                  the Minerva RF Controller (turning on the On/Off switch).

                2.6      Footswitch
                  The Minerva Footswitch is a pneumatic switch that connects to the Minerva RF Controller
                  front panel. It is used to activate the Minerva RF Controller and does not contain any
                  electrical components.

                2.7      Power Cord
                  The Minerva AC power cord, a medical grade cord, connects the Minerva RF Controller
                  to the appropriate line voltage/power outlet. The receptacle for the power cord, the
                  power input module, is located on the back panel of the Minerva RF Controller.

  3.0 PRINCIPLES OF OPERATION
      The Minerva Endometrial Ablation System is a bipolar RF system that uses high voltage radio
      frequency (RF) electrical current at a frequency of 480 kHz to ionize argon gas that is fully contained
      and circulated within a sealed silicone membrane. This stretchable silicone membrane of the Plasma
      Forming Array (PFA) is deployed in the uterine cavity. When the system is energized, the argon gas
      is ionized, forming plasma. It is this argon plasma that heats the interior surface of the silicone
      membrane. This energy, in the form of heat, is conducted through the silicone membrane and to the
      tissue in contact with the membrane. The combination of the heat conducted through the membrane
      wall from the plasma to the adjacent endometrial tissue, the retained heated intra-cavitary moisture
      that fills gaps around the surface of the array, and a small amount of bipolar RF current travelling
      through the target tissue (and resultant heat), results in the ablation of endometrial tissue.

      The Minerva Disposable Handpiece is connected to the Minerva RF Controller, then inserted and
      positioned at the fundus of the uterine cavity. The handle of the Minerva Disposable Handpiece is
      actuated to expand the PFA. The Cervical Sealing Balloon is inflated to facilitate sealing of the
      endocervical canal. The UIT is performed to help assess the uterine cavity for possible uterine and
      Array defects. Upon successful completion of the UIT, the ablation cycle is initiated and plasma
      energy is delivered. After the ablation cycle is complete, the handle is unlocked to close the PFA,
      and the Cervical Sealing Balloon is deflated prior to removing the Minerva Disposable Handpiece
      from the uterus.

      The Minerva RF Controller should be placed in proximity to the user and away from the sterile field.
      The Minerva RF Controller should be placed on a cart, to the left or right side of the user (the operator
      actuating the Minerva RF Controller is expected to be approximately within 1 meter of the Minerva RF
      Controller touch screen display). The Minerva RF Controller front panel should be facing the user,
      such that there is an unobstructed view of the touch screen. The footswitch should be connected to
      the connector on the Minerva RF Controller front panel and placed on the floor within easy reach of
      the user.

  4.0 INDICATIONS FOR USE
      The Minerva Endometrial Ablation System is intended to ablate the endometrial lining of the uterus in
      pre-menopausal women with menorrhagia (excessive bleeding) due to benign causes for whom
      childbearing is complete.

  5.0 CONTRAINDICATIONS
      The Minerva Endometrial Ablation System is contraindicated for use in:


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     •   a patient who is pregnant or who wants to become pregnant in the future.
         PREGNANCIES FOLLOWING ABLATION CAN BE DANGEROUS FOR BOTH MOTHER AND
         FETUS.
     •   a patient with known or suspected uterine cancer or pre-malignant conditions of the endometrium,
         such as unresolved adenomatous hyperplasia.
     •   a patient with any anatomic condition (e.g., history of previous classical cesarean section or
         transmural myomectomy, including hysteroscopic and/or laparoscopic myomectomy performed
         immediately prior to the Minerva procedure) or pathologic condition (e.g., requiring long-term
         medical therapy) that could lead to weakening of the myometrium.
     •   a patient with a history of endometrial ablation and/or resection (including endometrial
         ablation/resection performed immediately prior to Minerva procedure) regardless of the modality
         by which it was performed.
         REPEAT ABLATION MAY RESULT IN SERIOUS PATIENT INJURY.
     •   a patient with active genital or urinary tract infection at the time of the procedure (e.g., cervicitis,
         vaginitis, endometritis, salpingitis or cystitis).
     •   a patient with an intrauterine device (IUD) currently in place and which is not removed prior to the
         Minerva procedure.
     •   a patient with a uterine cavity length less than 4 cm. The minimum length of PFA is 4 cm.
         Treatment of a uterine cavity with a length less than 4 cm may result in thermal injury to the
         endocervical canal.
     •   a patient with a narrow uterine cavity.
     •   a patient where the Array Opening Indicator is in the Red Zone following deployment of the
         Minerva Disposable Handpiece.
     •   a patient with active pelvic inflammatory disease.
     •   a patient with undiagnosed vaginal bleeding.

  6.0 WARNINGS

         READ ALL INSTRUCTIONS CAREFULLY. FAILURE TO PROPERLY FOLLOW THE
         INSTRUCTIONS, WARNINGS, AND PRECAUTIONS MAY LEAD TO PATIENT INJURY.

         THE MINERVA PROCEDURE IS INTENDED TO BE PERFORMED ONLY ONCE DURING A
         SINGLE OPERATIVE VISIT. THERMAL OR OTHER INJURIES TO THE BOWEL MAY OCCUR
         WHEN/IF MULTIPLE THERAPY CYCLES ARE PERFORMED DURING THE SAME
         OPERATIVE VISIT.

               6.1      Uterine Perforation
                 •   Use caution not to perforate the uterine wall when sounding, dilating or inserting the
                     Minerva Disposable Handpiece.
                 •   Activation of the Minerva Disposable Handpiece in the setting of a uterine perforation
                     is likely to result in serious patient injury.
                 •   The risk of uterine perforation is increased in patients with abnormal or obstructed
                     uterine cavities including obstruction by fibroids that distort the uterine cavity.
                 •   It has been reported in the literature that patients with a severely anteverted,
                     retroflexed or laterally displaced uterus are at greater risk of uterine wall perforation
                     during any intrauterine manipulation.
                 •   If the Minerva Disposable Handpiece is difficult to insert into the cervical canal, use
                     clinical judgment to determine whether or not further dilation is required. Forcibly
                     advancing the Minerva Disposable Handpiece against resistance is likely to increase
                     the risk of perforation or creation of a false passage. Sufficient dilation is required for
                     safe insertion.
                 •   To prevent injury to the endocervical canal, ensure the Plasma Formation Array is
                     unlocked before removing the Minerva Disposable Handpiece from the uterus.
                 •   Excessive force applied during placement of the Minerva Disposable Handpiece may
                     result in tissue injury including perforation.


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              •   Use caution during placement of the Minerva Disposable Handpiece in severe uterine
                  angulations to prevent perforation.
              •   The Minerva System performs an integrity test to evaluate the integrity of the Minerva
                  Disposable Handpiece and indirectly assess the integrity of the uterine cavity (Uterine
                  Integrity Test) and sounds an alarm warning prior to treatment if the test fails. (See
                  advisory note after Step 13.13).
              •   IF THE UTERINE INTEGRITY TEST FAILS AFTER REASONABLE ATTEMPTS TO
                  IMPLEMENT THE TROUBLESHOOTING PROCEDURES (14.1.2-14.1.4), ABORT
                  THE PROCEDURE.
              •   ALTHOUGH DESIGNED TO DETECT A PERFORATION OF THE UTERINE WALL,
                  THIS TEST IS AN INDICATOR ONLY AND IT MIGHT NOT DETECT ALL
                  PERFORATIONS. CLINICAL JUDGMENT MUST ALWAYS BE USED.
              •   IF A UTERINE PERFORATION IS SUSPECTED AND/OR CONFIRMED, THE
                  PROCEDURE SHOULD BE TERMINATED IMMEDIATELY.
              •   For patients in whom the procedure was aborted due to a suspected uterine wall
                  perforation, a work-up for perforation should be considered prior to discharge.
              •   Post-treatment, any patient-reported signs/symptoms that could indicate a
                  serious complication, e.g., bowel injury, should be thoroughly evaluated
                  without delay.

            6.2     General Warnings
              •   Endometrial ablation using the Minerva System is not a sterilization procedure.
                  Therefore, the patient should be advised of appropriate birth control methods.
              •   Endometrial ablation is intended for use only in women who do not desire to bear
                  children because the likelihood of pregnancy is significantly decreased following the
                  procedure. Pregnancy following ablation may be dangerous for both mother and
                  fetus.
              •   Endometrial ablation does not eliminate the potential for endometrial hyperplasia or
                  cancer of the endometrium and may mask the physician’s ability to detect or make a
                  diagnosis of such pathology.
              •   Patients who undergo endometrial ablation procedures who have previously
                  undergone tubal ligation are at increased risk of developing post ablation tubal
                  sterilization syndrome which can require hysterectomy. This can occur as late as 10
                  years post procedure.
              •   The Minerva procedure should not be performed concomitantly with placement of the
                  Essure device.
              •   The safety and effectiveness of the Minerva System has not been evaluated in
                  patients with the Essure device.

            6.3      Technical Warnings
              •   The Minerva Disposable Handpiece is supplied sterile. Do not use the sterile single-
                  patient use Minerva Disposable Handpiece if the packaging appears to be damaged
                  or there is evidence of tampering.
              •   For single use only. Do not reuse, reprocess or resterilize. Reuse, reprocessing or
                  resterilization may compromise the structural integrity of the Minerva Disposable
                  Handpiece and/or lead to failure of the Minerva Disposable Handpiece which, in turn,
                  may result in patient injury, illness or death. Reuse, reprocessing or resterilization
                  may also create a risk of contamination of the handpiece and/or cause patient
                  infection or cross-infection, including, but not limited to, the transmission of infectious
                  disease(s) from one patient to another. Contamination of the handpiece may lead to
                  injury, illness or death of the patient.
              •   The used Minerva Disposable Handpiece must be treated as biohazardous waste
                  and disposed of in accordance with hospital or clinic standard practice where the
                  treatment is performed.




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              •   If any hysteroscopy procedure is performed with hypotonic solution immediately prior
                  to Minerva procedure, then the uterine cavity must be flushed with normal saline prior
                  to treatment with the Minerva System. The presence of hypotonic fluid may reduce
                  the efficiency of the Minerva System.
              •   Plugging the Minerva Disposable Handpiece into the Minerva RF Controller starts the
                  pre-insertion handpiece integrity check. CO2 is delivered to the handpiece to verify
                  patency. THIS TEST TAKES APPROXIMATELY 10 SECONDS TO COMPLETE
                  AND MUST BE PERFORMED WITH THE MINERVA DISPOSABLE HANDPIECE
                  EXTERNAL TO THE PATIENT TO ELIMINATE THE RISK OF AIR OR GAS
                  EMBOLISM AS WELL AS ANY FALSE READINGS. The Minerva RF Controller
                  screen will display the progress of the test (Step 12.3.9). After the test image
                  disappears, it is safe to insert the Minerva Disposable Handpiece.
              •   The Minerva Endometrial Ablation System may interfere with normal functions of
                  some types of implanted pacemakers or implanted cardioverters/defibrillators. The
                  Minerva System should not be used with patients who have pacemakers or other
                  electrical implants. Check if the patient has pacemaker or implanted
                  cardioverter/defibrillator prior to use. Consult the cardio-rhythm device manufacturer
                  for information about the effects of RF energy on these devices.
              •   Care should be taken to ensure the patient does not contact metal parts which are
                  earthed or which have an appreciable capacitance to earth, such as direct contact
                  with the metal on tables.
              •   DANGER: EXPLOSION HAZARD. Do not use in the presence of a flammable
                  anesthetic mixture. Do not use in the presence of flammable gases or liquids.
              •   Failure of the Minerva RF Controller could result in an unintended increase in output
                  power.
              •   Do not use the Minerva System near or in a magnetic resonance (MR) environment.

            6.4     Cautions
              •   A false passage can occur during any procedure in which the uterus is instrumented,
                  especially in cases of a severe anteverted retroflexed or a laterally displaced uterus.
                  Use caution to ensure that the Minerva Disposable Handpiece is properly positioned
                  in the uterine cavity.
              •   Patients who have undergone endometrial ablation and are later placed on hormone
                  replacement therapy should have a progestin included in their medication regimen in
                  order to avoid the increased risk of endometrial adenocarcinoma associated with
                  unopposed estrogen replacement therapy.
              •   The safety and effectiveness of the Minerva System has not been fully evaluated in
                  patients with:
                       o with a uterine sound measurement greater than 10 cm;
                       o with submucosal fibroids that distort the uterine cavity;
                       o with bicornuate, septate or sub-septate uteri;
                       o with medical (e.g., GnRH agonist) or surgical pretreatment; or
                       o who have undergone a previous endometrial ablation including the Minerva
                           endometrial ablation procedure.
              •   The Minerva System consists of the following components:
                       o Single-patient use Minerva Disposable Handpiece with connecting cord and
                           desiccant
                       o Minerva RF Controller with footswitch and power cord
                       o Minerva CO2 canister
                       o Minerva argon canister
              •   To ensure proper operation, never use other components with the Minerva System.
                  Inspect the components regularly for damage, and do not use them if damage is
                  apparent. The use of any cables or accessories other than those specified in these
                  instructions may result in increased emissions or decreased immunity of the Minerva
                  RF Controller.



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              •   The Minerva Disposable Handpiece should only be used by physicians trained in the
                  use of the Minerva Disposable Handpiece.
              •   The Minerva Disposable Handpiece must be used only in conjunction with the
                  Minerva RF Controller. No other handpieces can be used with the Minerva RF
                  Controller.
              •   Patients must be informed of the risks and possible adverse events associated with
                  the endometrial ablation procedure and use of the Minerva Endometrial Ablation
                  System.
              •   The user should inspect the Minerva Disposable Handpiece for damage prior to use.
              •   The Minerva Desiccant is non-sterile, and the packaging should not be placed in the
                  sterile field.
              •   Do not use the Minerva Desiccant if desiccant material is pink in color.
              •   The Minerva Disposable Handpiece must be external to (outside of) the patient
                  before plugging the connecting cord into the appropriate port on the front panel of the
                  Minerva RF Controller (Step 12.3.9).
              •   Do not use the Minerva Endometrial Ablation System in presence of volatile solvents
                  or flammable anesthetics.
              •   In the event of a Minerva RF Controller failure, disconnect the Minerva Disposable
                  Handpiece, use the ON/OFF Switch, or unplug the power cord to stop Argon and
                  CO2 flow, and RF energy delivery.
              •   Do not operate unit in a moist environment, as a shock hazard may exist. If liquids
                  have entered the unit, the Minerva RF Controller must be returned to the
                  manufacturer for testing prior to use.
              •   Interference produced by the operation of high-frequency equipment, such as the
                  Minerva RF Controller, may adversely affect the operation of other electronic medical
                  equipment such as monitors and imaging systems. If electromagnetic interference
                  with other equipment is suspected, reorient the Minerva Disposable Handpiece or
                  remove possible sources of interference (e.g., cellular phones, radios, etc.) from the
                  room.
              •   It is recommended that any monitoring equipment or leads be placed as far as
                  possible from the Plasma Formation Array when high frequency surgical equipment
                  and physiological monitoring equipment are used simultaneously on the same
                  patient. Needle monitoring electrodes are not recommended. Monitoring systems
                  incorporating high frequency current-limiting devices are recommended for use.
              •   Do not use the Minerva Disposable Handpiece if wires are exposed as this increases
                  the risk of an electrical shock or fire.
              •   Failure of the Minerva Endometrial Ablation System equipment could result in an
                  unintended increase of output power.
              •   Use of accessories and cables, other than those specified for the Minerva
                  Endometrial Ablation System, may result in increased emissions or decreased
                  immunity of the system.
              •   Use only the hospital grade power cord and Minerva Footswitch supplied with the
                  Minerva RF Controller.
              •   Removing screws and opening of the Minerva RF Controller will invalidate the
                  warranty.
              •   The Minerva RF Controller contains no user serviceable parts. Return to
                  manufacturer for repairs.
              •   Do not restrict the openings on the Minerva RF Controller enclosure, as they provide
                  the required airflow for cooling.
              •   The patient should not come into contact with earthed metal parts or parts with
                  appreciable capacitance to earth. The use of antistatic sheeting is recommended.
              •   Position the Minerva Disposable Handpiece connecting cord such that contact with
                  patient or other electrical leads is avoided.
              •   Position the Minerva RF Controller on a flat surface for clinical use.



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                  •   Care should be taken not to damage the silicone membrane of the Plasma Formation
                      Array during preparation and use.
                  •   Careful measuring of the uterus is important for safe and proper Minerva Disposable
                      length setting to prevent thermal injury to the endocervical canal.
                  •   If during the ablation cycle the cervical balloon does not adequately seal the cervical
                      canal, unintended thermal damage to the endocervical canal may occur as a result of
                      hot fluid leaking from the uterine cavity into the canal. Use clinical judgment to
                      continue with the ablation procedure if such a leak is suspected.
                  •   During the ablation cycle, ensure the connection tubing is not kinked or twisted which
                      could reduce the flow of argon gas and reduce the effect of ablation.
                  •   During ablation, do not unlock the Minerva Disposable Handpiece handle or retract or
                      remove the Minerva Disposable Handpiece.
                  •   The Minerva RF Controller is for use without a neutral electrode.
                  •   Use non-flammable agents for cleaning and disinfecting wherever possible.
                  •   Flammable agents used for cleaning, disinfecting, or as solvents of adhesives should
                      be allowed to evaporate before application of RF energy.
                  •   Flammable solutions can pool under the patient or in body depressions such as the
                      umbilicus, and in body cavities such as the vagina. Fluids pooled in the body
                      depressions and cavities should be evacuated before the Minerva RF Controller is
                      used.
                  •   Endogenous gases (e.g., cotton and gauze saturated with oxygen) may be ignited by
                      sparks produced during normal use of the Minerva RF Controller.
                  •   Do not position the Minerva RF Controller such that it is difficult to
                      connect/disconnect the Minerva Disposable Handpiece connector.
                  •   To avoid risk of electric shock, the Minerva RF Controller must only be connected to
                      a mains supply with protective earth.
                  •   Do not modify the Minerva RF Controller without authorization from Minerva Surgical.
                  •   The Minerva RF Controller needs special precautions regarding EMC and needs to
                      be installed and put into service according to the EMC information provided in section
                      21.0.
                  •   The use of Portable and Mobile RF Communications Equipment can affect the
                      Minerva RF Controller.
                 •    The Minerva RF Controller should not be used adjacent to or stacked with other
                      equipment. If adjacent or stacked use is necessary, the Minerva RF Controller
                      should be observed to verify normal operation in the configuration in which it will be
                      used.
                 •    The power cord connection to the Minerva RF Controller provides a means of
                      isolation. The Minerva RF Controller should be positioned so as to provide easy
                      access to the power cord connection in the event that the unit must be quickly
                      unplugged.

  7.0 MINERVA CLINICAL DATA
      The Minerva Endometrial Ablation System was evaluated in two clinical studies, the Minerva Single-
      Arm Study and the Minerva Randomized Clinical Trial (RCT).

     The Minerva Single-Arm Study was a prospective, multi-center, single-arm, international clinical study
     of 110 patients with menorrhagia. Adverse events were reported from the time of procedure through
     the 12-month follow-up study period. Two- and three-year safety and effectiveness outcomes are
     being collected for this study. Device labeling will be updated when these data become available.

     Additional adverse event information is available from an ongoing RCT evaluating the Minerva
     Endometrial Ablation System. The RCT is a prospective, controlled, randomized, multicenter, safety
     and effectiveness clinical study of 153 subjects (102 Minerva and 51 Rollerball) with menorrhagia.
     One month follow-up data are currently available. One-, two- and three-year safety and effectiveness




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      outcomes are being collected for this study. Device labeling will be updated when these data become
      available.

      Table 1 shows the number and percent of patients in each study who reported specific endometrial
      ablation-related adverse events and symptoms (one or more times) up to 12 months post-procedure
      (up to 30 Days post-procedure in the RCT).


       Table 1: Number and Percent of Patients with One or More Related* Adverse Events and
                               Symptoms by Time of Occurrence
                                                 Minerva Single-Arm             Minerva Randomized Study
  Adverse Event/Symptom                          Study
                                                    Minerva (n=110)         Minerva (n=102)   Rollerball (n=51)

  Intra-operative Adverse Events
  Skin Rash and/or Itching or Burning
                                                         0 (0.0%)**            1 (1.0%)           0 (0.0%)
  Sensation

  Post-operative Adverse Events (< 24 hours) ***
  Pelvic Cramping                                       64 (58.2%)            51 (50.0%)         23 (45.1%)
  Vaginal Discharge and/or Unpleasant
  Vaginal Smell or Burning or Other Abnormal            15 (13.6%)            32 (31.4%)         16 (31.4%)
  Sensation
  Bleeding or Spotting                                   8 (7.3%)             39 (38.2%)         15 (29.4%)
  Nausea and/or Vomiting                                17 (15.5%)            17 (16.7%)          7 (13.7%)
  Weakness, Fatigue, Sleepiness, Lack of
                                                          6 (5.5%)             5 (4.9%)           1 (2.0%)
  Concentration, Dizziness
  Abdominal Pain and/or Bloating                         10 (9.1%)             0 (0.0%)           0 (0.0%)
  Circulatory Symptoms                                    4 (3.6%)             5 (4.9%)           3 (5.9%)
  Headache                                                4 (3.6%)             0 (0.0%)           2 (3.9%)
  Backache                                                3 (2.7%)             1 (1.0%)           0 (0.0%)
  Fever                                                   0 (0.0%)             1 (1.0%)           0 (0.0%)
  Agitation                                               0 (0.0%)             1 (1.0%)           2 (3.9%)
  Vulvar Pruritus                                         0 (0.0%)             1 (1.0%)           0 (0.0%)
  Urinary Disturbance                                     0 (0.0%)             1 (1.0%)           1 (2.0%)

  Post-operative Adverse Events (≥ 24 hours – 2 Weeks) ***
  Pelvic Cramping                                       12 (10.9%)             0 (0.0%)           0 (0.0%)
  Abdominal Pain and/or Bloating                         1 (0.9%)              3 (2.9%)           1 (2.0%)
  Nausea and/or Vomiting                                 1 (0.9%)              0 (0.0%)           1 (2.0%)
  Vaginal Discharge and/or Unpleasant
  Vaginal Smell or Burning or Other Abnormal              0 (0.0%)             1 (1.0%)           0 (0.0%)
  Sensation
  Weakness, Fatigue, Sleepiness, Lack of
                                                          0 (0.0%)             1 (1.0%)           1 (2.0%)
  Concentration, Dizziness
  Circulatory Symptoms                                    1 (0.9%)             0 (0.0%)           0 (0.0%)
  Constipation                                            1 (0.9%)             0 (0.0%)           1 (2.0%)
  Pelvic Inflammatory Disease                             1 (0.9%)             0 (0.0%)           0 (0.0%)
  Fever                                                   1 (0.9%)             0 (0.0%)           0 (0.0%)
  Endometritis or Endomyometritis                         0 (0.0%)             1 (1.0%)           2 (3.9%)
  Skin Rash and/or Itching or Burning
                                                          0 (0.0%)             1 (1.0%)           1 (2.0%)
  Sensation

  Post-operative Adverse Events                    >2 Weeks – 1 Year             >2 Weeks – 4 Weeks†
  Abdominal Pain and/or Bloating                          0 (0.0%)             0 (0.0%)           1 (2.0%)
  * Possibly, probably, or highly probably related to Device or Procedure




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  ** Percent of patients who reported specific endometrial ablation-related adverse events and symptoms*** Ten
  patients in the Single-Arm Study and two patients in the RCT reported the same AE at the < 24 hours and the 24
  hours – 2 Weeks visits
  † SAE (PID) occurred in one Minerva subject at 34 days




      Table 2 shows the frequency (number of occurrences) of endometrial ablation-related adverse events
      and symptoms reported during the 12-month follow-up period (up to 30 Days post-procedure in the
      RCT). As an example, if the same patient reported two episodes of cramping, the table would reflect
      two occurrences.

               Table 2: Number of Occurrences of Related* Adverse Events and Symptoms
                                                Minerva Single-Arm                Minerva Randomized Study
  Adverse Event/Symptom                         Study
                                                   Minerva (n=110)           Minerva (n=102)       Rollerball (n=51)

  Intra-operative Adverse Events
  Skin Rash and/or Itching or Burning
                                                            0                        1                     0
  Sensation

  Post-operative Adverse Events (< 24 hours)
  Pelvic Cramping                                          64                       51                    23
  Vaginal Discharge and/or Unpleasant
  Vaginal Smell or Burning or Other Abnormal               16                       32                    16
  Sensation
  Bleeding or Spotting                                     8                        39                    16
  Nausea and/or Vomiting                                   21                       19                     8
  Weakness, Fatigue, Sleepiness, Lack of
                                                            7                        6                     2
  Concentration, Dizziness
  Abdominal Pain and/or Bloating                           10                        0                     0
  Circulatory Symptoms                                     4                         5                     3
  Backache                                                 3                         2                     0
  Headache                                                 4                         0                     2
  Fever                                                    0                         1                     0
  Agitation                                                0                         1                     2
  Vulvar Pruritus                                          0                         1                     0
  Urinary Disturbance                                      0                         1                     1

  Post-operative Adverse Events (≥ 24 hours – 2 Weeks)
  Pelvic Cramping                                          12                        0                     0
  Abdominal Pain and/or Bloating                           1                         3                     1
  Nausea and/or Vomiting                                   1                         0                     1
  Vaginal Discharge and/or Unpleasant
  Vaginal Smell or Burning or Other Abnormal                0                        1                     0
  Sensation
  Weakness, Fatigue, Sleepiness, Lack of
                                                            0                        1                     1
  Concentration, Dizziness
  Circulatory Symptoms                                      1                        0                     0
  Constipation                                              1                        0                     1
  Pelvic Inflammatory Disease                               1                        0                     0
  Fever                                                     1                        0                     0
  Endometritis or Endomyometritis                           0                        1                     2
  Skin Rash and/or Itching or Burning
                                                            0                        1                     1
  Sensation

  Post-operative Adverse Events                   >2 Weeks – 1 Year                 >2 Weeks – 4 Weeks†
  Abdominal Pain and/or Bloating                            0                        0                     1



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  * Possibly, probably, or highly probably related to Device or Procedure

  † SAE (PID) occurred in one Minerva subject at 34 days


                   7.1      Anticipated Post-Procedural Symptoms
                     For any endometrial ablation procedure, commonly reported postoperative events include
                     the following:
                     • Postoperative cramping can range from mild to severe. This cramping will typically
                          last a few hours and rarely continues beyond the first day following the procedure.
                     • When present, nausea and vomiting typically occur immediately following the
                         procedure, are associated with anesthesia and can be managed with medication.
                     • Vaginal discharge
                     • Vaginal bleeding/spotting

                   7.2     Other Adverse Events
                     As with all endometrial ablation procedures, serious injury or death can occur.
                     The following adverse events could occur or have been reported in association with the
                     use of other endometrial ablation systems and may occur when the Minerva system is
                     used:
                     • Post-ablation tubal sterilization syndrome
                     • Pregnancy-related complications
                         NOTE: Pregnancy following endometrial ablation is very dangerous for both
                         the mother and the fetus.
                     • Thermal injury to adjacent tissue, including bowl, bladder, cervix, vagina, vulva and/or
                         perineum
                     • Perforation of the uterine wall
                     • Hemorrhage
                     • Hematometra
                     • Difficulty with defecation or micturition
                     • Uterine necrosis
                     • Air or gas embolism
                     • Infection or sepsis
                     • Complications leading to serious injury or death


  8.0 MINERVA CLINICAL STUDIES SUMMARY
      The Minerva Endometrial Ablation System was evaluated in two clinical studies, the Minerva Single-
      Arm Study and the Minerva RCT.

           8.1       Minerva Single-Arm Clinical Study
                 The Minerva Single-Arm Study was a prospective, multi-center, single-arm, international
                 clinical study of 110 patients with menorrhagia. Adverse events were reported from the time
                 of procedure through the 12-month follow-up study period. Two- and three-year safety and
                 effectiveness outcomes are being collected for this study. Device labeling will be updated
                 when these data become available.

                     8.1.1 Purpose
                         The safety and effectiveness of the Minerva Endometrial Ablation System was
                         evaluated in premenopausal women who had completed childbearing and were
                         suffering from menorrhagia secondary to benign causes.

                     8.1.2 Study Endpoints
                         The primary effectiveness measure was a validated menstrual diary scoring system
                         developed by Higham (Higham JM, O’Brien PMS, Shaw RW Br J Obstet Gynaecol



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                  1990; 97:734-9). Assessment of menstrual blood loss was performed using a
                  pictorial blood loss assessment chart (PBLAC). Patient success was defined as a
                  reduction in menstrual diary score from >150 pre-treatment to ≤ 75 at 12 months
                  post-procedure.

                  Study success was based on a comparison between the Minerva Endometrial
                  Ablation System and an Objective Performance Criterion (OPC). The OPC is 66%
                  based on the lower bound of the 95% confidence interval of the average success rate
                  for the five approved global endometrial ablation (GEA) devices.

                  The primary safety measure was based on the adverse events reported during the
                  study.

                  Secondary endpoints included amenorrhea, anesthesia regimen, length of procedure
                  (Minerva Disposable Handpiece insertion to Minerva Disposable Handpiece removal)
                  and responses from a patient satisfaction questionnaire.

              8.1.3 Methods
                  A prospective, multi-center, single-arm, international clinical study was conducted at
                  seven clinical sites and included 110 patients diagnosed with menorrhagia. Menstrual
                  diary scores were collected pre-operatively and monthly for 12 months post-
                  procedure. Patients were treated at any time in their menstrual cycle. Patients
                  received no endometrial pretreatment (e.g., hormone, dilation and curettage, or cycle
                  timing).

                  Study subjects were required to meet the following key patient selection criteria:

                  Inclusion Criteria:
                  • Refractory menorrhagia with no definable organic cause
                  • Female subject from age 25 to 50 years
                  • Uterine sound measurement of 6.0cm to 10.0cm (external os to internal fundus)
                  • One of the following criteria:
                         o Documented history of menorrhagia secondary to dysfunctional uterine
                           bleeding (DUB).
                         o If a pictorial blood loss assessment chart (PBLAC) scoring systems is used,
                           a minimum PBLAC score of ≥150 for 1 month prior to study enrollment.
                  • Premenopausal at enrollment as determined by FSH measurement ≤ 40 mIU/ml
                  • Not pregnant and no desire to be pregnant in the future
                  • Patient agrees not to use hormonal contraception or any other medical
                      intervention for bleeding during the study
                  • Able to provide written informed consent using a form that has been approved by
                      the reviewing IRB/EC
                  • Subject agrees to follow-up exams and data collection, including ability to
                      accurately use menstrual diaries for PBLAC analysis
                  • Subject demonstrates an understanding on how to use menstrual diaries.

                  Exclusion Criteria:
                  • Pregnancy or subject with a desire to conceive
                  • Endometrial hyperplasia as confirmed by histology
                  • Presence of active endometritis
                  • Active pelvic inflammatory disease
                  • Active sexually transmitted disease (STD), at the time of ablation
                     Note: Treatment of STD documented in the chart serves as sufficient
                     evidence of infection resolution. Patient may be considered for study
                     enrollment.



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                  •    Presence of bacteremia, sepsis, or other active systemic infection
                  •    Active infection of the genitals, vagina, cervix, uterus or urinary tract at the time
                       of the procedure
                  •    Known/suspected gynecological malignancy within the past 5 years
                  •    Known clotting defects or bleeding disorders
                  •    Untreated/unevaluated cervical dysplasia (except CIN I)
                  •    Known/suspected abdominal/pelvic cancer
                  •    Prior uterine surgery (except low segment cesarean section) that interrupts the
                       integrity of the uterine wall (e.g., myomectomy or classical cesarean section)
                  •    Previous endometrial ablation procedure
                  •    Currently on medications that could thin the myometrial muscle, such as long-
                       term steroid use (except inhaler or nasal therapy for asthma)
                  •    Currently on anticoagulants
                  •    Abnormal or obstructed cavity as confirmed by hysteroscopy or saline infusion
                       sonohysterography (SIS), specifically:
                          o Septate or bicornuate uterus or other congenital malformation of the uterine
                            cavity
                          o Pedunculated or submucosal myomas distorting the uterine cavity
                          o Polyps likely to be the cause of the subject’s menorrhagia
                          o Intramural or subserosal myomas that distort the uterine cavity
                  •    Presence of an intrauterine device (IUD) which the patient is unwilling to have
                       removed at the time of the operative visit
                  •
                                                                                         ®             ®
                       Presence of an implantable contraceptive device (e.g., Essure or Adiana ).
                  •    Subject currently on hormonal birth control therapy or unwilling to use a non-
                                                                                  ®
                       hormonal birth control post-ablation (including a Mirena device).
                  •    Subject who is within 6-weeks post-partum.
                  •    Any general health condition which, in the opinion of the Investigator, could
                       represent an increased risk for the subject
                  •    Any subject who is currently participating or considers future participation in any
                       other research of an investigational drug or device.

              8.1.4 Patient Population
                  A total of 110 patients were enrolled in this study. Patients were between the ages of
                  25 to 50, with 35.5% under or at the age of 40, and 64.5% 41 years of age or older.
                  There were no statistical differences in demographic or gynecological history
                  parameters between the age groupings or among the seven investigational sites.
                  Table 3 describes the accountability of subjects throughout the study period.


                                       Table 3: Patient Accountability
                                                                            TOTAL
                      Intent to Treat Population                              110
                      Enrolled but not Treated
                          • Failed Inclusion/Exclusion Screening               5
                      Aborted Treatment                                        1
                      Complete Treatments                                     104
                      Population with 12-Month Data Available                 104




                  Demographics and Gynecologic History
                  Table 4 presents the baseline demographic and gynecologic history parameters for
                  the Intent-to-Treat Population (all enrolled subjects).


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                     Table 4: Baseline Demographics and Gynecological History
                                                                Total Subjects
                            Subject Characteristic
                                                                    (N=110)
                     Age (yrs)
                       Mean ± SD (Median)                      42.0 ± 5.3 (43.2)
                       Range (min, max)                           (29.3, 49.7)
                     Race/Ethnicity
                       Hispanic**                                 23.6% (26)
                       Asian                                        0.9% (1)
                       Caucasian                                  75.5% (83)
                       African American                              0% (0)
                                                     2
                     Body Mass Index (BMI) (Kg/m )
                       Mean ± SD (Median)                      28.2 ± 5.8 (27.3)
                       Range (min, max)                           (18.0, 57.3)
                     Reproductive History
                     Gravida
                       Mean ± SD (Median)                        2.8 ± 1.4 (3.0)
                       Range (min, max)                               (0, 6)
                     Para
                       Mean ± SD (Median)                        2.3 ± 1.0 (2.0)
                       Range (min, max)                               (0, 5)
                     Menstrual History
                       Regular Cycle Pattern                      86.4% (95)
                       Dysmenorrhea                               59.1% (65)
                       PMS                                        72.7% (80)
                     PBLAC Score at baseline
                       Mean +SD (Median)                     469.4 ± 337.2 (381.4)
                       Range (min, max)                         (151.1, 2048.0)
                     Laboratory Testing
                     FSH (IU/L)
                       Mean +SD (Median)                         8.0 ± 7.2 (6.0)
                       Range (min, max)                            (0.4, 38.0)
                          ** Note: Hispanic is not a race; however, it is listed as
                          such in the database to provide information on ethnicity
                          of this subject population.



              8.1.5 Results
                  Primary Effectiveness Endpoint: Bleeding Score
                  Patient success at 12 months post-procedure is defined as a reduction in the PBLAC
                  diary score from >150 pre-operatively to ≤75 post-procedure. Amenorrhea is defined
                  as a score of 0. Data presented in Table 5 represent the clinical results based on the
                  total number of 110 patients enrolled (Intent-to-Treat group (ITT)) in the study. The
                  worst-case scenario is presented whereby each of the discontinued patients (five
                  screening failures and one aborted procedure described in Table 3 for patient
                  accountability) are counted as a “failures” for calculating the values listed in the table.


               Table 5: Effectiveness: Success and Amenorrhea Rates (Intent-To-Treat Patients)


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                                                          12-Mo Follow-Up
                                                              (N=110)
                                                            n            %
                      Success (PBLAC ≤ 75)               101/110        91.8

                      Amenorrhea (PBLAC = 0)             73/110         66.4



                 The purpose of the primary effectiveness analysis was to determine if the true
                 Minerva success rate is greater than the OPC of 66%. The null hypothesis was that
                 the Minerva success rate was equal to or less than the OPC of 66%. Based on the
                 success rate of 91.8% observed in the Minerva ITT population, the null hypothesis
                 was rejected at the significance level of 5%, and the 12-month follow-up success rate
                 observed with the Minerva Endometrial Ablation System was demonstrated to be
                 statistically significantly greater than the OPC of 66% (p-value <0.0001).

                 Safety Endpoint
                 Adverse event information is described above in the “Adverse Events” section of this
                 manual (Section 7.0, Table 1 and Table 2).

                 Secondary Effectiveness Endpoint: Patient Satisfaction
                 Patient satisfaction with the Minerva procedure was assessed and at 12 months of
                 follow-up, out of those subjects who have responded to the survey, 97.6% (81/83) of
                 patients were satisfied or very satisfied with the Minerva procedure. In addition,
                 during the same follow-up interval 98.8% (82/83) of patients stated that they would
                 recommend the procedure to a friend or a relative with the remaining 1.2% (1/83)
                 reporting “Not Sure.”

                 Pre-menstrual symptoms and dysmenorrhea were evaluated at baseline and
                 following the Minerva procedure. At the 12 months follow-up interval, reduction in
                 pre-menstrual symptoms was reported by 80.8% (84/104) of subjects and 54.8%
                 (57/104) of study subjects who were treated reported reduction in dysmenorrhea.

                 Secondary Endpoint: Procedure Time
                 Procedure time was determined for each patient by recording the time from insertion
                 of the Minerva Disposable Handpiece to the time of removal. The mean procedure
                 time was determined to be 3.9 ± 1.5 minutes.

                 Secondary Endpoint: Anesthesia Regimen
                 Anesthesia regimen was not dictated by the clinical protocol and was left to the
                 discretion of each patient, clinical investigator, and attending anesthesiologist.
                 Anesthesia regimen was also largely driven by the currently adopted guidelines
                 specific to each medical facility/site. Anesthesia regimens used in the study are
                 summarized in Table 6.

                                Table 6: Anesthesia Regimen (N=110)



                                                                       Total
                                                                      Subjects
                                    Anesthesia Type                   (N=110)
                                                                       % (N)
                             General                                  9.1% (10)



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                                  IV Sedation                            11.8% (13)
                                  Paracervical Block                      9.1% (10)
                                  IV Sedation/Paracervical Block         57.3% (63)
                                  IV Sedation/Paracervical Block/
                                                                         12.7% (14)
                                  Other




                  8.1.6 Clinical Observations
                      Hysterectomy
                      During the 12-month follow-up period, there were no reported hysterectomies and/or
                      any other medical/surgical interventions to control bleeding.


        8.2       Minerva Randomized Clinical Trial (RCT) Summary
                  The Minerva Endometrial Ablation System is being evaluated in a prospective, controlled,
                  randomized, multicenter, safety and effectiveness clinical study of 153 enrolled subjects
                  with abnormal uterine bleeding (102 Minerva and 51 Rollerball) with menorrhagia. One
                  month follow-up data are currently available. One-, two- and three-year safety and
                  effectiveness outcomes are being collected for this study. Device labeling will be
                  updated when these data become available.

                  The eligibility criteria (i.e., inclusion and exclusion criteria) for the Minerva RCT are
                  similar to those for the Minerva Single-Arm study with a few exceptions (e.g., bleeding is
                  assessed using the alkaline hematin method instead of PBLAC scores).

              8.2.1        Study Objectives
                  The primary objective was to evaluate the safety and effectiveness of the Minerva
                  Endometrial Ablation System compared to rollerball ablation in reducing menstrual blood
                  loss at 12 months post-treatment. An additional objective was to identify complications or
                  adverse events that may occur in the subjects treated in this study. Subjects were
                  randomized 2:1 to the Minerva Endometrial Ablation Device or the rollerball ablation
                  control arm, respectively. The two treatments were compared in a group of pre-
                  menopausal women with menorrhagia (excessive uterine bleeding) from benign causes
                  who no longer wished to retain fertility.

              8.2.2       Study Design
                  The study was designed as a prospective, randomized (2:1), controlled, international,
                  multicenter (13 sites) clinical investigation. The safety and effectiveness population
                  consists of 153 enrolled subjects.

                  The primary effectiveness measure was a validated alkaline hematin method of
                  measuring blood loss, assessing collected validated sanitary products (G.F. Ray, P.
                  Burnett, D. Dadgar. Rapid quantitation of menstrual blood loss from feminine hygiene
                  products. Fertility and Sterility, Volume 96, Issue 3, Supplement, Pages S281–S282,
                  September 2011). Success was defined as a reduction in menstrual bleeding at 12
                  months to an alkaline hematin value of ≤80ml per cycle. Secondary endpoints included
                  comparison of procedure time, patient satisfaction (as recorded by patient self-report),
                  and amenorrhea rates between the two groups. Safety evaluation was based on the
                  adverse events reported during the study, including device-related complications.


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            8.2.3       Demographics and Gynecologic History
                Table 7 presents the baseline demographic and gynecologic history parameters for the
                ITT population.

                             Table 7: Patient Demographics and Gynecologic History
                                                Minerva             Rollerball
            Subject Characteristic                                                     p-value
                                                (n=102)               (n=51)
       Age (Years)
          Mean ± SD (Median)               42.6 ± 4.2 (42.9)    42.5 ± 4.7 (43.1)
                                                                                         0.97
          Range (Min - Max)                   31.6 – 50.1           32.3 - 49.3
       Race
           American Indian or Alaskan
                                               1 (1.0 %)             0 (0.0 %)
           Native
                                                                                         1.00
          Black or African American            3 (2.9 %)             2 (3.9 %)
          White                               98 (96.1 %)          49 (96.1 %)
       Ethnicity
          Hispanic or Latino                  30 (29.4 %)          15 (29.4 %)
                                                                                         1.00
          Not Hispanic or Latino              72 (70.6 %)          36 (70.6 %)
       Body Mass Index (BMI)
              2
       (kg/m )
          Mean ± SD (Median)               30.0 ± 7.1 (29.7)    28.8 ± 5.3 (28.6)
                                                                                         0.28
          Range (Min - Max)                   16.6 – 52.1           19.8 - 40.6
       Reproductive History
       Gravida
          Mean ± SD (Median)                  3.1 ± 1.7 (3)        3.3 ± 1.5 (3)
                                                                                         0.65
          Range (Min - Max)                    0.0 – 10.0            0.0 - 7.0
       Para
          Mean ± SD (Median)                  2.6 ± 1.3 (3)        2.5 ± 1.2 (2)
                                                                                         0.65
          Range (Min - Max)                     0.0 - 9.0            0.0 - 6.0
       Menstrual History
          Regular Cycle Pattern               97 (95.1 %)          48 (94.1 %)           1.00
          Dysmenorrhea                        57 (55.9 %)          32 (62.7 %)           0.49
          PMS                                 66 (64.7 %)          35 (68.6 %)           0.72
       Alkaline Hematin Score at
       Baseline
                                                                  301.8 ± 176.1
          Mean ± SD (Median)            310.2 ± 169.0 (247.5)
                                                                      (249.0)            0.78
          Range (Min - Max)                 161.5 – 1120.0       160.0 – 1026.1
       Laboratory Results - FSH
       (IU/L)
          Mean ± SD (Median)                 7.5 ± 5.5 (6.0)     8.0 ± 6.3 (6.0)
                                                                                         0.60
          Range (Min - Max)                    1.0 – 30.0           2.0 – 35.3

            8.2.4       Interim Safety Results: Adverse Events
                The related adverse events (AEs) reported in both the Single-Arm study and the RCT to
                date are shown in Tables 1 and 2 above in Section 7.0.

            8.2.5        Secondary Endpoint: Procedure Time
                Procedure time was determined for each subject by recording the time of device insertion
                and the time of device removal. The mean procedure time for the Minerva procedure
                (3.1 + 0.5 minutes) was statistically significantly less than the procedure time for the
                rollerball ablation procedure (17.2 + 6.7 minutes).

            8.2.6       Secondary Endpoint: Anesthesia



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                  The anesthesia regimen was not dictated by the clinical protocol and was left to the
                  discretion of each patient, clinical investigator and attending anesthesiologist. The type
                  of anesthesia used in the Minerva procedure was nearly identical to the anesthesia
                  regimen in the rollerball ablation procedure.

              8.2.7        Secondary Endpoint: Cervical Dilation
                  The mean cervical dilation for the Minerva procedure (6.8 ± 1.1mm) was statistically
                  significantly less than the cervical dilation used for the rollerball ablation procedure (9.3 ±
                  1.5 mm).

  9.0 PATIENT SELECTION
         Menorrhagia can be caused by a variety of underlying problems, including, but not limited to;
         endometrial cancer, myomas, polyps, drugs and dysfunctional uterine bleeding (anovulatory
         bleeding). Patients always should be screened and evaluated to determine the cause of
         excessive uterine bleeding before any treatment option is initiated. Consult medical literature
         relative to various endometrial ablation techniques, indications, contraindications, complications
         and hazards prior to the performance of any endometrial ablation procedure.

          Patients with abnormal or obstructed uterine cavities were excluded from the clinical
          studies of the Minerva System. The risk of uterine perforation and serious complications
          (e.g., bowel injury) during endometrial ablation is likely increased in such patients.

  10.0    PATIENT COUNSELING
          As with any procedure, the physician needs to discuss risks, benefits and alternatives with the
          patient prior to performing endometrial ablation. Patient’s expectations should be set in a way that
          the patient understands that the aim of the treatment is the reduction in bleeding to normal levels.

          The Minerva Endometrial Ablation System is intended for use only in women who do not desire to
          bear children because the likelihood of pregnancy is significantly decreased following the
          procedure. Patients of childbearing capacity should be cautioned of potential complications,
          which may ensue if they should become pregnant. This counseling should include the need for
          post-procedure contraception where indicated. This procedure is not a sterilization procedure and
          subsequent pregnancies may be dangerous for the mother and fetus.

          Vaginal discharge is typically experienced during the first few weeks following ablation and may
          last as long as a month. Generally, the discharge is described as bloody during the first few days;
          serosanguineous by approximately one week; then profuse and watery thereafter. Any unusual or
          foul-smelling discharge should be reported to the physician immediately. Other common post-
          procedural complications include cramping/pelvic pain, nausea and vomiting.

          Uterine perforation should be considered in the differential diagnosis of any post-
          operative patient complaining of acute abdominal pain, fever, shortness of breath,
          dizziness, hypotension or any other symptom that may be associated with uterine
          perforation with or without damage to the adjacent organs of the abdominal cavity.
          Patients should be counseled that any such symptoms should be immediately reported to
          their physician.

  11.0    PRETREATMENT PREPARATION OF PATIENT
          The Minerva Endometrial Ablation System successfully treats a uterine cavity over a range of
          endometrium thickness. The lining of the uterus does not have to be thinned prior to the
          procedure, and the procedure may be performed during either the proliferative or the secretory
          phase of the cycle. The safety and effectiveness of the Minerva Endometrial Ablation System has
          not been fully and specifically evaluated in patients with medical or surgical pretreatment.

          Active bleeding was not found to be a limiting factor when using the Minerva Endometrial Ablation
          System. It is recommended that a non-steroidal anti-inflammatory drug (NSAID) be given at least


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         one hour prior to treatment and continued postoperatively to reduce intra-operative and post-
         operative uterine cramping.

  12.0   SET-UP
              12.1    Required items
                The following items are required when using the Minerva Endometrial Ablation System:
                • One sterile Minerva Disposable Handpiece (with Desiccant)
                • One Minerva RF Controller (with Footswitch and Power Cord)
                • One Argon Canister
                • One CO2 Canister

               12.2    Patient Preparation
                 12.2.1 Prepare the patient for the anesthesia.
                 12.2.2 Place patient in dorsal lithotomy position.
                 12.2.3 Induce anesthesia according to standard practice.
                 12.2.4 Perform bimanual examination. Evaluate for severe ante-version or retro-version
                        of the uterus.
                 12.2.5 Prepare and drape patient similar to prep for D&C.
                 12.2.6 Insert a speculum into the vagina.
                 12.2.7 Grasp the cervix with a tenaculum.
                 12.2.8 Take a sound measurement of the uterus to measure the length from fundus to
                        external cervical os.

  WARNING: The efficacy of the Minerva Endometrial Ablation System has not been evaluated in
  patients with a uterine sound measurement greater than 10 cm.

                 12.2.9 Determine the length of the cervical canal and dilate cervical canal to 7.0 mm.

  Optional diagnostic hysteroscopy using normal saline or Ringers Lactate for distention media can
  be performed at this time.

                 12.2.10 Using the uterine sound and cervical canal measurements, consult the cavity
                         length table (Table 8) to obtain the appropriate PFA length setting. Numbers
                         marked with an asterisk represent adjusted dimensions that should reflect the
                         Minerva Disposable Handpiece PFA length setting and while not observed in the
                         clinical study, may be associated with a higher rate of failure to pass the uterine
                         integrity test. Correct determination of the cavity length is important for safe and
                         effective treatment. Overestimating the cavity length may result in thermal injury
                         to the endocervical canal.




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  WARNING: Use caution not to perforate the uterine wall when sounding, dilating or inserting the
  Minerva Disposable Handpiece.

                                                  Table 8: Cavity Length Table
                                                             Uterine Sound Length (cm)
               Cervical Canal
                Length (cm)                 10       9.5      9       8.5       8     7.5      7    6.5      6     5.5     5
                        1                    Do Not Treat            6.5*     6.5*    6.5     6     5.5     5      4.5     4
                       1.5                                   6.5*    6.5*     6.5      6     5.5     5     4.5      4
                        2                           6.5*     6.5*    6.5       6      5.5     5     4.5     4
                       2.5                 6.5*     6.5*     6.5      6       5.5      5     4.5     4
                        3                  6.5*     6.5       6      5.5       5      4.5     4
                       3.5                 6.5       6       5.5      5       4.5      4
                        4                   6       5.5       5      4.5       4
                       4.5                 5.5       5       4.5      4                       Do Not Treat
                        5                   5       4.5       4
                       5.5                 4.5       4
                        6                   4

  * The value of 6.5 where indicated with an asterisk is not intended to reflect the numerical difference between the sound length and
  the length of the cervical canal. The value 6.5* is entered because it represents the maximum length to which the Minerva
  Disposable Handpiece Array can be extended.

  CONTRAINDICATION: Do not treat a patient with a uterine cavity length that is less than 4 cm, as
  cervical canal damage may occur.

                   12.3     Minerva Disposable Handpiece and Minerva RF Controller Preparation
                            Procedure
                      12.3.1 Open the sterile Minerva Disposable Handpiece package. Place the Minerva
                              Disposable Handpiece, with the connecting cord and the syringe into the sterile
                              field while being careful to keep the non-sterile suction line desiccant box out of
                              the sterile field.

  WARNING: Do not use the sterile single-patient use Minerva Disposable Handpiece if the
  packaging appears to be damaged or there is evidence of tampering.

  CAUTION: Minerva Disposable Handpiece must be external to (outside of) the patient while
  performing all steps in section 12.3 and steps 13.1 through 13.5 in section 13.

                      12.3.2 Open the non-sterile suction line desiccant box and pouch. Remove the two end
                             caps.

  CAUTION: The argon return line desiccant contents are non-sterile and its packaging should not
  be placed in the sterile field.

  CAUTION: If the argon return line desiccant is pink, replace it prior to initiating the ablation
  procedure.

                      12.3.3 Connect the desiccant to the two ports on the tubing of Minerva Disposable
                             Handpiece (Figure 6). When properly connected you will feel or hear a click.




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                                   Figure 6: Desiccant Connection

              12.3.4 Using the toggle switch on the back of the unit, turn on the Minerva RF
                     Controller. Figure 7 will appear on the touch screen display for 5 seconds.




                                       Figure 7: Initial Screen

              12.3.5 Adjust volume according to your preference.
              12.3.6 Confirm your adequate familiarity with the Minerva Endometrial Ablation System
                     Operator’s Manual / Instructions for Use by pressing the green check mark on
                     the touch screen display (Figure 8).




                              Figure 8: Confirmation Request Screen

              12.3.7 Upon confirmation, screen image will change to display the status of argon (Ar)
                     and CO2 canisters (Figures 9-12) to indicate if there is sufficient gas to complete
                     the procedure. If either one or both canister icons appear red, remove and
                     replace with a new canister(s) until both canister icons are green.




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                                  Figure 9: Replace Ar and CO2




                                      Figure 10: Replace Ar




                                      Figure11: Replace CO2




                                 Figure 12: Sufficient Ar and CO2

              12.3.8 After both canister icons turn green, the screen will display the green canister
                     status for 5 seconds after which the next screen (Figure 13) indicating that the
                     Minerva Disposable Handpiece and Footswitch should be connected will appear.



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                   Figure 13: Connect Minerva Disposable Handpiece and Footswitch

                12.3.9 Connect the Minerva Disposable Handpiece connecting cord and foot-switch
                       cord to the appropriate port on the front panel of the Minerva RF Controller.
                       When connecting the Minerva Disposable Handpiece assure a snug fit such that
                       the purple surface of the connector is not visible. When connecting the footswitch
                       advance the black tubing over the nipple receptacle. At this time, the Minerva
                       Disposable Handpiece test animation (Figure 14) will appear on the Minerva RF
                       Controller touch screen display.

  WARNING: Plugging the Minerva Disposable Handpiece into the Minerva RF Controller
  automatically starts a system test which takes approximately 7 seconds and must be performed
  with the Minerva Disposable Handpiece EXTERNAL to the patient.

  CAUTION: Do not manipulate the Minerva Disposable Handpiece during the system test or test
  failure may result.




                            Figure 14: Minerva Disposable Handpiece Test

                12.3.10 Successful completion of the tests will be reflected on the touch screen display
                        (Figure 15).




                       Figure 15: Minerva Disposable Handpiece Test Successful



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  13.0   PROCEDURE

  CAUTION: CO2 continuously flows from the time that the Minerva Disposable Handpiece is
  plugged into the Minerva RF Controller until the Uterine Integrity Test portion of the procedure is
  complete.

  WARNING: Use caution not to perforate the uterine wall when sounding, dilating or inserting the
  Minerva Disposable Handpiece.

               13.1   Using the uterine sound measurement and cervical canal measurements,
                      consult the cavity length table as described in Step 12.2.10 above, to obtain
                      the appropriate Plasma Formation Array length setting.
  CONTRAINDICATION: Do not treat a patient with a uterine cavity length that is less than 4 cm, as
  cervical canal damage may occur.

               13.2    Adjust and lock the cavity length setting feature on the Minerva Disposable
                       Handpiece (Figure 16) to the value obtained above (See step 12.2.10).




                  Figure 16: Minerva Disposable Handpiece PFA Length Setting Feature

               13.3    Confirm that the cervix is dilated to at least 7.0 mm.
               13.4    Maintain a slight traction on the tenaculum to minimize the angle of the uterus.
               13.5    Press and hold the Green Button on the touch screen display (Figure 17) to draw
                       vacuum on the PFA, thus minimizing the Minerva Disposable Handpiece tip
                       insertion profile. The sheath of the Minerva Disposable Handpiece will not cover
                       the PFA. Attempts to “sheath” the PFA will result in Minerva Disposable Handpiece
                       damage.




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                                     Figure 17: PFA Vacuum Button

               13.6    Angle the Minerva Disposable Handpiece in-line with the axis of the uterus as the
                       Minerva Disposable Handpiece is inserted transcervically into the uterine cavity
                       and advance the Minerva Disposable Handpiece until the distal tip of the PFA
                       touches the fundus. Release the Green button on touch screen display of the
                       Minerva RF Controller.

  WARNING: If the Minerva Disposable Handpiece is difficult to insert into the cervical canal, use
  clinical judgment to determine whether or not further dilation is required. Forcibly advancing the
  Minerva Disposable Handpiece against resistance is likely to increase the risk of perforation or
  creation of a false passage. Sufficient dilation is required for safe insertion.

               13.7    The touch screen display will change to the Minerva Disposable Handpiece
                       deployment screen (Figure 18) upon release of the Green Button, to reflect steps
                       13.7 – 13.10 described below.




                         Figure 18: Minerva Disposable Handpiece Deployment

               13.8    Maintain the distal tip of the PFA at the fundus. Slowly squeeze the Minerva
                       Disposable Handpiece handle together while gently moving the Minerva
                       Disposable Handpiece approximately 0.5 cm to and from the fundus until the
                       Minerva Disposable Handpiece handle locks. DO NOT pull the deployed PFA back
                       and away from the fundus. The Array Opening Indicator on the Minerva Disposable
                       Handpiece should be in the Green zone (Figure 19).




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                                                                        Green Zone




                               Figure 19: Array Opening Indicator Green Zone

  NOTE: Once the Minerva Disposable Handpiece handle is locked, the uterus should move in
  conjunction with the Minerva Disposable Handpiece.

               13.9    Gently move the Minerva Disposable Handpiece using anterior, posterior and
                       lateral movements.
               13.10   To complete placement, slightly pull back the Minerva Disposable Handpiece and
                       then gently advance the Minerva Disposable Handpiece to the fundus. The Array
                       Opening Black Indicator line on the Minerva Disposable Handpiece should now be
                       in the Green Zone.

  NOTE: The Black Indicator Line on the Array Opening Indicator displays the progression of the
  PFA deployment/opening and does not indicate a dimension of the uterus.

  CONTRAINDICATION: Do not treat a patient if Array Opening Indicator is in the Red Zone
  following deployment of the Minerva Disposable Handpiece.




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            13.11   After connecting the sterile syringe (provided) to the inflation port on the sheath
                    (Figure 20), fully inflate the Cervical Sealing Balloon to seal the uterine cavity.
                    Exercise caution not to damage the Cervical Sealing Balloon by over inflating
                    and/or causing mechanical damage by use of other instruments. The position of
                    the CO2 arrow icon along the red-green scale near the bottom of the touch screen
                    display indicates the likelihood of passing or failing the subsequent Uterine Integrity
                    Test (UIT). If the CO2 arrow icon is in the green zone, the CO2 flow rate is
                    sufficiently low that initiation of the UIT test is appropriate. If the CO2 arrow icon is
                    in the red zone, however, the CO2 flow rate remains sufficiently high that the UIT
                    test will not likely pass if initiated.




                           Figure 20: Syringe Connected to Inflation Port

            13.12   Begin the uterine integrity test (UIT) procedure by stepping on and releasing the
                    foot switch once. An animation indicating the progress of the UIT will appear on the
                    touch screen display. See animation frame in (Figure 21)




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                                 Figure 21: Uterine Integrity Test Initiation

               13.13   Upon successful completion of the UIT, the screen will switch (Figure 22) and the
                       ablation procedure will start automatically.




                               Figure 22: Successful Uterine Integrity Test

  NOTE: Power will not be applied to the Minerva Disposable Handpiece until the UIT passes. If the
  UIT fails, then the display on the Minerva RF Controller will indicate UIT Failure (Figure 23), and a
  rapid audible tone will sound. Consult the Troubleshooting section for more information.




                                  Figure 23: Failed Uterine Integrity Test

               13.14   Upon successful completion of the UIT, the screen will switch (Figure 22) and the
                       ablation procedure will start automatically. The remaining ablation time will be
                       displayed on the screen (Figure 24).

  NOTE: Maintaining correct placement of the Minerva Disposable Handpiece PFA against the
  fundus is important for safe and effective treatment.




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                                   Figure 24: Remaining Ablation Time

               13.15   During the ablation cycle, the blue “RF ON” LED on the front panel of the Minerva
                       RF Controller will be ON. At the completion of the ablation cycle, this blue RF
                       power delivery (RF ON LED) will switch off with the cessation of RF energy
                       delivery.

  NOTE: RF power delivery can be stopped at any time by pressing the foot switch. If Footswitch is
  accidently pressed, the cycle can be re-initiated by pressing the footswitch again.

               13.16   Upon successful completion of the 2 minute ablation cycle, 2 images (Figure 24
                       and Figure 25) will appear sequentially on the touch screen display.




                                      Figure 24: Ablation Complete




                                   Figure 25: Do Not Re-treat Warning

               13.17   Using the supplied syringe deflate the Cervical Sealing Balloon.
               13.18   Unlock and withdraw the Minerva Disposable Handpiece from the patient.

  CAUTION: To avoid damaging the Minerva Disposable Handpiece, employ a gentle technique
  when retracting the Minerva Disposable Handpiece.



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               13.19   Using the toggle-switch, turn OFF the Minerva RF Controller.
               13.20   Perform postoperative patient care according to standard procedures. The used
                       Minerva Disposable Handpiece must be treated as biohazardous waste and
                       disposed of in accordance with the standard practice of the clinic or hospital, where
                       the treatment is performed.
               13.21   Discharge the patient from the hospital or office as indicated by the managing
                       physician.

  WARNING: The Minerva procedure is indicated AS A SINGLE PROCEDURE ONLY. A repeat
  ablation either during the same operative visit or at a subsequent visit in the distant future is an
  absolute contraindication.

  14.0   TROUBLESHOOTING
             14.1    UIT Failure
               14.1.1 If the UIT fails, a brief tone will sound and Figure 26 will appear on the touch
                       screen display.
  WARNING: If a perforation is suspected, the procedure should be terminated immediately.

                 14.1.2 Return to the Minerva Disposable Handpiece deployment screen by pressing the
                        “return” button in the lower left hand corner of the image on the touch screen
                        display (Figure 26).




                        Figure 26: Uterine Integrity Test Failure and “Return” Button

                 14.1.3 Re-check for leaks between the cervix and Cervical Sealing Balloon by
                        monitoring the CO2 flow rate indicator image on bottom edge of the touch screen
                        display (Figure 27).




                                    Figure 27: CO2 Flow Rate Indicator




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                 14.1.4 Remove the Minerva Disposable Handpiece from uterus and verify Cervical
                        Sealing Balloon integrity by inflating the Cervical Sealing Balloon and checking
                        for leaks. If the Cervical Sealing Balloon does not remain inflated, replace
                        Minerva Disposable Handpiece. If the leak appears to be at the cervix and
                        cannot be resolved by using the Cervical Sealing Balloon, use another tenaculum
                        to grasp and tighten the cervix around the sheath. Repeat the UIT by stepping
                        on and releasing the foot switch once the CO2 indicator is in the green zone.

  NOTE: CO2 leakage may occur at the external cervical os due to the presence of an over-dilated
  cervix. Visible bubbles or the “hissing” sound of escaping gas may accompany CO 2 leakage
  under either of these conditions.

                 14.1.5 Apply good clinical judgment and consider stopping the procedure, if the UIT
                        continues to fail after a reasonable number of attempts to implement the
                        troubleshooting procedures (Steps 14.1.2 through 14.1.4 above)

  NOTE: Removing the Minerva Disposable Handpiece from the uterine cavity after completing the
  UIT will require an additional UIT to be performed upon Minerva Disposable Handpiece re-
  insertion (whether or not the UIT previously passed) prior to initiating an ablation.

               14.2    Missing Desiccant
                 14.2.1 If the desiccant is missing, Figure 28 will appear on the touch screen display
                        shortly after the Minerva Disposable Handpiece is connected the Minerva RF
                        Controller.




                                       Figure 28: Missing Desiccant

                 14.2.2 Attach both ends of the desiccant to the Minerva Disposable Handpiece cord.

               14.3    Minerva Disposable Handpiece Integrity Failure
                 14.3.1 If the Minerva Disposable Handpiece fails the integrity test, Figure 29 will appear
                        on the touch screen display.




                     Figure 29: Minerva Disposable Handpiece Integrity Test Failure




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              14.3.2 This failure is an indication that something is obstructing the free flow of CO2
                     through the Minerva Disposable Handpiece. Check for kinks in the Connector
                     Cord tubing and/or inadvertent placement of a stool foot on the Minerva
                     Disposable Handpiece cord. Disconnect and re-connect the Minerva Disposable
                     Handpiece to re-start the test. If test fails for the second time, replace the
                     Minerva Disposable Handpiece.

            14.4    Array Opening Indicator in Red Zone
              14.4.1 If the Array Opening Indicator is in the Red Zone after performing the seating
                     procedure, close and remove the Minerva Disposable Handpiece from the
                     uterine cavity. Inspect the Minerva Disposable Handpiece by opening in the air
                     (outside of the patient’s body). If the Array Opening Indicator is in the Red Zone
                     when the Minerva Disposable Handpiece is deployed and locked in the air,
                     replace the Minerva Disposable Handpiece. If the indicator is in the Green Zone,
                     close the Minerva Disposable Handpiece and continue the procedure. If after
                     performing the seating procedure the indicator is still in the Red Zone, rule out
                     the possibility of uterine perforation or false passage.
              14.4.2 Do not perform the procedure if the Array Opening Indicator is in the Red Zone.

            14.5    Footswitch Not Operational
              14.5.1 If the footswitch is not operational when pressing (initiating the procedure), make
                     sure it is properly connected to the appropriate port on the front of the Minerva
                     RF Controller, then re-attempt treatment initiation. If problem persists, contact
                     Minerva Surgical Customer Service at 1-855-646-7874.

            14.6    Suspected Uterine Perforation
              14.6.1 Prior to Application of Energy:
                     14.6.1.1          Terminate the procedure
                     14.6.1.2          Assure patient stability
                     14.6.1.3          Consider patient work-up for perforation
                     14.6.1.4          Reschedule procedure, if appropriate

              14.6.2 During or after Application of Energy:
                     14.6.2.1         Terminate the procedure
                     14.6.2.2         Assure patient stability
                     14.6.2.3         Rule out visceral injury
                     14.6.2.4         Reschedule procedure, if appropriate

            14.7    PFA Does Not Fully Deploy and Lock
              14.7.1 If the Minerva Disposable Handpiece does not lock, remove it from the uterus.
              14.7.2 Inspect the Minerva Disposable Handpiece for damage;
              14.7.3 Attempt to open and lock the Minerva Disposable Handpiece outside the patient;
                     and
              14.7.4 If damaged, then replace Minerva Disposable Handpiece.
              14.7.5 If the Minerva Disposable Handpiece is not damaged, reinsert it into the patient’s
                     uterine cavity and attempt deployment; and
              14.7.6 If unable to deploy the Minerva Disposable Handpiece to a width being in the
                     GREEN ZONE, terminate the procedure.
              14.7.7 Consider uterine perforation as a possible cause for not being able to deploy.

            14.8    Difficulty unlocking the Minerva Disposable Handpiece post-ablation
              14.8.1 If upon completion of the ablation cycle the Minerva Disposable Handpiece does
                      not unlock using a single unlock lever, press on both levers simultaneously to
                      unlock.




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                14.8.2 If the Disposable Handpiece does still not unlock, gradually withdraw the Minerva
                       Disposable Handpiece from the patient.

  15.0   ERROR MESSAGES
             15.1 The user may encounter the error messages listed in Table 9.

                                        Table 9: Error Messages
    Error                   Description                                 Required Action
     001    Impedance too low                              replace Disposable Handpiece
     002    Membrane Defect Detected                       replace Disposable Handpiece
     003    Argon Return Valve too high                    replace Disposable Handpiece
     004    Argon Return Valve too low                     replace Disposable Handpiece
     005    Handpiece Connection Test Failed               replace Disposable Handpiece
     006    No plasma detected                             replace Disposable Handpiece
     007    Argon Flow High                                replace Disposable Handpiece
     008    Argon Flow Low                                 replace Disposable Handpiece
     009    Argon Return Flow High                         replace Disposable Handpiece
     010    Argon Pressure High (SALS)                     replace Disposable Handpiece
     011    Voltage/Phase Angle too low                    replace Disposable Handpiece
     012    Argon Flow/Return Flow Differential too high   replace Disposable Handpiece
     013    CO2 Canister Empty                             replace CO2 canister
     014    Argon Canister Empty                           replace Argon canister
     015    Pause Expired                                  remove and re-insert Disposable Handpiece
     016    Corrected Argon Differential flow too high     replace Disposable Handpiece




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              15.2   The user may encounter the system error messages listed in Table 10. The
                     required action in all instances is to stop treatment and cycle the Minerva RF
                     Controller power off and back on again. If the error is not cleared, contact Minerva
                     Surgical customer service at 1-855-646-7874.

                                  Table 10: System Error Messages
      Error                                         Description
       101      Operational CPU Failure
       102      CO2 1st stage regulated Pressure Too High
       103      CO2 Flow Too High
       104      Argon 1st stage regulated Pressure Too High
       105      Argon Flow Too High
       106      Argon Return Flow Too High
       107      RF Circuit Breaker Tripped
       108      Watchdog Expired
       109      RF Current Too High
       110      RF Voltage Too High
       111      RF Power Too High
       112      Temperature Check
       114      RF Delivery Time Too Long
       115      DAC/ADC Validation Error
       116      HALS (Hardware Argon Limit Switch)
       117      HCLS (Hardware CO2 Limit Switch)
       118      Software loop timer exceeds limit
       201      RF Over Current during POST
       202      Display Test Failure
       203      Processor Communication Test Failure
       204      Stuck Button Validation Error
       205      RF Power Self Test Failure
       206      RF Power Validation Error
       207      RF Impedance Validation Error
       208      CO2 Shutoff Test Failure
       209      Argon Shutoff Test Failure
       210      Argon Return Shutoff Test Failure
       211      Watchdog Validation Failure
       212      Converter Validation Failure
       213      Timer Validation Failure
       214      Residual Pressure/Vacuum Failure
       215      Redundant Power Check
       301      Reference Voltage Out of Range
       302      +1.8 Volt Supply Out Of Range
       303      +3.3 Volt Supply Out Of Range
       304      +5 Volt Supply Out Of Range
       305      +12 Volt Supply Out Of Range
       306      -12 Volt Supply Out Of Range
       307      +48 Volt Supply Out Of Range
       308      Fan Error
       401      POST RAM Validation Failure
       402      POST FLASH Validation Failure
       403      POST EEPROM Validation Failure




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  16.0   REPLACEMENT INSTRUCTIONS
         The Minerva RF Controller uses a pair of fuses located in a fuse drawer in the power input
         module. The fuses are Type T5AL, 250 V, 5 x 20mm each. The drawer can be accessed by
         using a flat-head screwdriver to pull it open. Disconnect the power cord prior to accessing the
         fuse drawer. If required, the fuse drawer may then be removed and the fuses changed.
         Assembly is the reverse of these steps.

         Any potentially defective Minerva Surgical product must be returned to Minerva Surgical for
         evaluation. Follow the instructions in the Service Returns section (Section 23.0), for obtaining a
         returned goods authorization number (RGA #).


  17.0   HOW SUPPLIED
         • The Minerva Disposable Handpiece is supplied sterile.
         • The Minerva Disposable Handpiece is intended for single-patient and single-use only. Do not
           re-sterilize the Minerva Disposable Handpiece.
         • The Minerva RF Controller is supplied in a semi-ready-to-use state. The shipping box
           contains the Minerva RF Controller, Footswitch, and a detached power cord.
         • Minerva argon and CO2 canisters are supplied separately.


  18.0   STORAGE, HANDLING AND DISPOSAL
         • Store the Minerva Disposable Handpiece at room temperature in a clean and dry
            environment. Keep dry.
         • Store the Minerva RF Controller at room temperature in a clean and dry environment. Keep
            dry.
         • Handle both the Minerva RF Controller and Minerva Disposable Handpiece with care.
         • Use the handles on the back of the RF Controller to facilitate moving or transport.
         • Inspect the Minerva Disposable Handpiece and packaging to verify that no damage has
            occurred as a result of shipping. Do not use the Minerva Disposable Handpiece if damage
            has occurred or if the sterilization barrier has been damaged or broken.
         • Dispose of used Minerva Disposable Handpieces in accordance with applicable regulations
            for the disposal of biohazardous material. There are no other limitations regarding the
            disposal of the Minerva components or accessories.
         • Return the Minerva RF Controller to Minerva Surgical, Inc. for disposal.

  19.0   STERILITY
         • The Minerva Disposable Handpiece is sterilized using gamma irradiation. Do not use if the
            package is damaged or open.
         • The Minerva RF Controller is supplied non-sterile and is not intended to be sterilized by the
            user. The Minerva RF Controller should be cleaned with a hospital grade disinfectant after
            each use.

  20.0   TECHNICAL SPECIFICATIONS
         Specifications
         Mode of Operation: ............................................ Intermittent 120 seconds on 10 minutes shut off
         Input: .............................................................................................. 100-240VAC, 50-60Hz, 300VA
         Dimensions: ................................................................. 14”(W) x 7”(H) x 22”(D) (35 x 17 x 55 cm)
         Weight: ....................................................................................................................... 25 lbs (11kg)
         Output:................................................................................. 40W (80Wmax), 480 kHz, 250V max
         Fuses:............................... 5x20mm Type “T” 5A/250V slow blow (Qty. 2; Schurter or equivalent),
                                                                                                           Type “L” - 50 A breaking capacity
         Weight and dimensions indicated are approximate. Specifications are subject to change without
         notice.




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         Protection
         Class 1, Type BF applied part, intermittent operation; Enclosure IPX0

         Operating Conditions
         Temperature: ..................................................................................... 59°F to 95°F (15°C to 35°C)
         Relative Humidity: .............................................................. 25% to 75% relative, non-condensing
         Atmospheric Pressure: ......................................................... 706 to 1082 cmH2O (69 to 106 kPa)

         Transport and Storage Requirements
         Temperature: ..................................................................................... 0°F to 140°F (-18°C to 60°C)
         Relative Humidity: .............................................................. 15% to 90% relative, non-condensing
         Atmospheric Pressure: ......................................................... 510 to 1082 cmH2O (50 to 106 kPa)

         Output Power
         Minerva Disposable Handpiece and RF Controller are for use exclusively with each other, and
         since the main component of system impedance is predominantly unrelated to the patient, no
         power curve is required or provided.


  21.0   GUIDANCE AND MANUFACTURER’S DECLARATION

         Emissions
         The Minerva RF Controller (MIN180S) and Minerva Disposable Handpiece (MIN9770) are
         intended for use in the electromagnetic environment specified in Table 11. The user should
         ensure that both are used in such an environment.


                                                   Table 11: Emissions
Emissions Test           Compliance          Electromagnetic Environment— Guidance
RF CISPR11               Group 1             The RF Controller (MIN180S) with Minerva Disposable Handpiece
                                             (MIN9770) must emit electromagnetic energy in order to perform its
                                             intended function. Nearby electronic equipment may be affected when
                                             RF is energized. As per IEC 60601-2-2, test was performed in a mode
                                             with EUT switched on and in an idle state with the HF output not
                                             energized. CISPR 11 Group 1 limits were followed as per clause
                                             202.6.1.1.1
RF CISPR11               Class A             The RF Controller (MIN180S) with Handpiece (MIN9770) is suitable for
Harmonics                Class A             use in all establishments other than domestic and those directly
EN 61000-3-2                                 connected to the public low-voltage power supply network that supplies
Flicker                  Complies            buildings used for domestic purposes.
EN 61000-3-3




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          Immunity
          The Minerva RF Controller (MIN180S) and Minerva Disposable Handpiece (MIN9770) are
          intended for use in the electromagnetic environment specified in Table 12. The user should
          ensure that both are used in such an environment.

                                              Table 12: Immunity
                  IEC 60601             Compliance
Immunity Test                                             Electromagnetic Environment – Guidance
                  Test Level            Level
Electrostatic
                                                              Floors should be wood, concrete or ceramic tile. If floors
discharge         ± 6 kV contact        ± 6 kV contact
                                                              are synthetic, the relative humidity should be at least
(ESD)             ± 8 kV air            ± 8 kV air
                                                              30%
IEC 61000-4-2
Electrical Fast
                  ± 2 kV Mains          ± 2 kV Mains          Mains power quality should be that of a typical
Transient (EFT)
                  ± 2 kV I/Os           ± 2 kV I/Os           commercial or hospital environment.
IEC 61000-4-4
Surge             ± 1 kV Differential   ± 1 kV Differential   Mains power quality should be that of a typical
IEC 61000-4-5     ± 2 kV Common         ± 2 kV Common         commercial or hospital environment.
                                                              Mains power quality should be that of a typical
                  >95% dip for 0.5      >95% dip for 0.5
                                                              commercial or hospital environment. If the user of the
                  cycle                 cycle
                                                              Minerva RF Controller (MIN180S) and Minerva
Voltage Dips /    60% dip for 5         60% dip for 5
                                                              Disposable Handpiece (MIN9770) requires continued
Drop Outs         cycles                cycles
                                                              operation during power mains interruptions, it is
IEC 61000-4-11    30% dip for 25        30% dip for 25
                                                              recommended that the Minerva RF Controller and the
                  cycles                cycles
                                                              Minerva Disposable Handpiece be powered from an
                  >95% dip for 5s       >95% dip for 5s
                                                              uninterruptible power supply or battery.
Power
frequency
                                                              Power frequency magnetic fields should be that of a
(50/60 Hz)        3 A/m                 3 A/m
                                                              typical commercial or hospital environment.
Magnetic Field
IEC 61000-4-8
                                                              Portable and mobile communications equipment should
                                                              be separated from the Minerva RF Controller (MIN180S)
                                                              and Minerva Disposable Handpiece (MIN9770) by no
                                                              less than the distances calculated/listed below:

Conducted RF      3 Vrms                3 Vrms                D=1.2√P
IEC 61000-4-6     150 kHz to 80                               150kHz to 80MHz
                  MHz
Radiated RF                             3 V/m                 D=1.2√P
IEC 61000-4-3     3 V/m                                       80 to 800 MHz
                  80 MHz to 2.5
                  GHz                                         D = 2.3√P
                                                              800 MHz to 2.5 GHz

                                                              where P is the max power in watts of the transmitter and
                                                              D is the recommended separation distance in meters.
                                                              Field strengths from fixed transmitters, as determined by
                                                              an electromagnetic site survey, should be less than the
                                                              compliance levels.
                                                               Interference may occur in the vicinity of equipment
                                                              containing a transmitter.

          Separation Distances
          The Minerva RF Controller (MIN180S) and Minerva Disposable Handpiece (MIN9770) are
          intended for use in the electromagnetic environment in which radiated disturbances are
          controlled. The user can help prevent electromagnetic interference by maintaining a minimum


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         distance between portable and mobile RF Communications Equipment and the Minerva RF
         Controller and Minerva Disposable Handpiece as recommended in Table 13, according to the
         maximum output power of the communications equipment.

                                      Table 13: Separation Distances

  Rated Max Output            Separation distance according to frequency of transmitter (meters)
  Power of transmitter   150 kHz to 80 MHz        80 MHz to 800 MHz            800 MHz to 2.5 GHz
  (watts)                D=1.2√P                  D=1.2√P                      D=2.3√P
  0.01                   0.12                     0.12                         0.23
  0.1                    0.38                     0.38                         0.73
  1                      1.2                      1.2                          2.3
  10                     3.8                      3.8                          7.3
  100                    12                       12                           23


  22.0   PARTS
         Ordering information and related parts and accessories are found in Table 14.

                                            Table 14: Parts List
   Part Number              Description
   MINCO2C                  CO2 Canister (5-pack)
   MINARGC                  Argon Canister (5-pack)
   MINRFFS                  Replacement Minerva RF Controller Footswitch
   MINCRD1                  Replacement Minerva RF Controller Power Cord (110 Volts, North America)
   MINRGKT                  RGA Biohazard Kit
   MIN9770                  Minerva Disposable Handpiece (single)
   MIN3PAK                  Minerva Disposable Handpieces (3-pack)
   MIN180S                  Minerva RF Controller

  23.0   SERVICE RETURNS
         Read these instructions prior to returning any used/unused potentially defective product to
         Minerva Surgical.

         Contact Minerva Surgical Technical Support if the Minerva Disposable Handpiece or Minerva RF
         Controller fail to operate as intended. If product is to be returned to Minerva Surgical for any
         reason, Technical Support will issue a Returned Goods Authorization number (RGA #) and
         biohazard kit if applicable. Return the product according to the instructions provided with the
         Minerva Surgical-supplied biohazard kit.

         Return the Minerva RF Controller according to the instructions provided by Minerva Surgical
         Technical Support. Be sure to clean the Minerva RF Controller before returning it and include all
         accessories in the box with the returned unit.




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  24.0   SYMBOLS
         The symbols used on the Minerva RF Controller and Minerva Disposable Handpiece are listed in
         Table 15.

                                     Table 15: Symbols list
          Minerva Disposable Handpiece                              Minerva RF Controller
                       Sterilized using irradiation                       Power On
                       Read Operator’s Manual
                                                                          Power Off
                       Prior To Use!
                       Do Not Reuse                             !         Caution

                       Do Not Resterilize                                 Equipotentiality

                                                                          Do Not Use in the Presence
                       Use By
                                                                          of Flammable Anesthetics
                       Manufacturer                                       Type BF Applied Part
                       Do Not Use if Package is
                                                                          Risk of Electrical shock
                       Damaged
                       Keep Dry                                           Footswitch Connection

                       Keep Away from Sunlight                            Non-Ionizing Radiation

                       Catalogue Number                                   Manufacturer

                       Serial Number                                      Fuses
                       Not Made with Natural
                                                                          Carbon Dioxide Canister
                       Rubber Latex
                       MR Unsafe                                          Argon Canister

                                                                          Date of Manufacture




  Manufactured by:
  Minerva Surgical, Inc.
  101 Saginaw Dr.
  Redwood City, CA 94063 USA
  Phone: 1-855-646-7874
  www.minervasurgical.com


  Patents Pending




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                    EXHIBIT B
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                                                                                                                      US006872183B2

   (12) United States Patent                                                                     (161661111968                               US 6,872,183 B2
          Sampson et al.                                                                         (45) Date of Patent:                             *Mar. 29, 2005


   (54)   SYSTEM AND METHOD FOR DETECTING                                                   (56)                          References Cited
          PERFORATIONS IN A BODY CAVITY                                                                        Us‘ PATENT DOCUMENTS

   (75) Inventorsl                                       Moijliltain git/Av;                         4,611,602 A           9/1986 Bolduc ..................... .. 600/560
                                  ;    l e       ara,            assta   ,                                                          _
                       (US); Csaba Truckai, Saratoga, CA                                                                     (Con?rmed)
                               Dean T. Miller, Menlo Park, CA                                                FOREIGN PATENT DOCUMENTS
                                                                                            DE                 43 06 629 A1              9/1994    ........ .. A61M/13/00
   (73)   Assignee: Cytyc Surgical Product, Palo Alto, CA                                   EP                 0 278 217 A1              8/1988    .......... .. A61B/1/26
                       (Us)                                                                                       OTHER PUBLICATIONS
   (*) Notice:         subject_to any disclaimer: the term of this                          D.R. Flum et al., “The accuracy of gastric insuf?ation in
                       Patent 15 extended or adlusted under 35                              testing for gastroesoesophageal perforatons during laparo
                       U'S'C' 154(k)) by 0 days'                                            scopic Nissen fundoplication,” Medscap from WebMD
                                                                                            (Oct.—Dec. 1999), “Abstract Medline/Aidsline,” printed Jun.
                       This patent is subject to a terminal dis-                            23, 2004 from htt;//intapp.medscape.com/pX/med1ineapp/
                       claimer.                                                             getdoc?ord=3&searched=3&havei1oca1iho1din                         .   .   ., one
                                                                                            page in length.
   (21) Appl' NO': 10/852’648                                                               Primary Examiner—Char1es Marmor
   (22) Filed:     May 24, 2004                                                             (74) Attorney, Agent, or Firm—Sta11man & Pollock LLP
   (65)                Prior Publication Data                                               (57)                            ABSTRACT
          Us 2004/0215099 A1 Oct- 28, 2004                                                  A system and method for detecting perforations in a body
                                                                                            cavity. In accordance With the method of the invention, a
                  Related US. Application Data                                              ?uid (liquid or gas) is delivered into a body cavity to slightly
   (63) Continuation of application No. 10/400 823 ?led on Mar.                             pressurize t.he.cavity'A.pressure Sensing System monitqrs the
          27’ 2003’ now Pat NO_ 677437184’ whic’h is’a Continuation                         pressure Within the cavity for a predetermined test period. If
          of application No, 09/710,102, ?led on Nov, 10, 2000, now                         cavity pressure is not substantially sustained during the test
          Pat- NO- 6,554,780-                                                               period, the physician is alerted to further assess the cavity
   (60)   Provisional application No- 60/164382: ?led on NoV~ 10:                           for perforations before initiating treatment Within the cavity.
          1999'                                                                             In a pre ferre d form of the s y stem , a medical treatment
   (51)   Int. Cl.7 ......................... .. A61B 5/00; A61M 31/00                      system such as an RF ablation system is provided With
                                                                                            perforation detection functionality. The system preferably
                                                                                            includes a pre-test and post-test lockout system. The lockout
   (52)   US. Cl. ...................... .. 600/561; 600/560; 600/587                       system prevents RF poWer delivery unless, during a prede
                                                                                            termined test period, the pressure sensing system determines
   (58)   Field of Search ............................... .. 600/560—562,                   that no Perforation oXiStS> or unless a Previously Performed
                          600/587_591, 593, 101, 104, 105, 135,                             perforation detection procedure determined a perforation
                      153, 156, 158; 606/27, 37, 40, 41, 45, 46,                            Was present but the lockout system Was subsequently over
                       49; 607/63, 96, 101, 105, 113, 115, 116,                             ridden by the physician
                      138; 604/20, 23, 26, 27, 65—67, 114, 118,
                                                             500, 515, 920                                     15 Claims, 5 Drawing Sheets


                                                          RF GENERATOR                                  34
                                        14                                         MICRO              J
                                             \                                   PROCESSOR
                                              27_/        CIRCUITRY                VACUUM             /30
                                                                                 BODY CAVITY
                                             16_/~           C02                 ASSESSMENT          I/ZO
                                                     -    SOURCE             LOCKOUT PRESSURE N
                              FOOTSWITCH                                                   SENSE 0    \24                               1O
                                                         ENABLE              /                        \14                       /
                                      32                  L 33               \28                   \ 26

                                                                                                 LEV            ORGAN
                                                                                                                      \

                                                                                            m             DEVICE 12
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                                         ' START




                                        WAIT FOR
                                         CONNECT


                   A             I                          104
                       PULSE
              VACUUM PUMP               C02 PURGE


                                                            10s
                                        WAIT FOR
                                         DEPLOY



                                        WAIT FOR            108
                                       FOOTSWITCH
                       RESET
                       TIMER


                                         PERF$HO
                                        PRESSURE
                                          TEST     ‘




                                                                      m0 TIMER
                                                                      EXPIBE?
           112

                 WAIT FOR                                            IS OVERRIDE
             FOOTSWITCH                                                TRUE?



                                        APPLY RF        I
                                         POWER

                                              FIG. 4
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                                                        US 6,872,183 B2
                                 1                                                                      2
           SYSTEM AND METHOD FOR DETECTING                                  FIG. 2A is a side elevation vieW of an ablation device that
             PERFORATIONS IN A BODY CAVITY                                may be used With the system of FIG. 1.
                                                                            FIG. 2B is a plan vieW of the RF applicator head of the
      This application continuation of US. application Ser.               ablation device of FIG. 2A.
   No. 10/400,823, ?led Mar. 27, 2003, now US. Pat No.                      FIG. 3 is a schematic representation of the pneumatic
   6,743,184, Which is a continuation of US. application Ser.             subsystem of the system of FIG. 1.
   No. 09/710,102, ?led Nov. 10, 2000, now US. Pat. No.
                                                                            FIG. 4 is a simpli?ed state diagram illustrating a mode of
   6,554,780, Which claims priority to US. Provisional Appli
                                                                          operation utiliZing the perforation detection and lockout
   cation No. 60/164,482, ?led Nov. 10, 1999.                             features of the present invention.
                                                                     10
                  FIELD OF THE INVENTION
                                                                                          DETAILED DESCRIPTION
     The present invention relates to the ?eld of systems and
   methods for detecting the presence of perforations in body               A perforation detection system 10 (also referred to as a
   cavities. More particularly, the present invention relates to a        “body cavity assessment system”) utiliZing principles of the
   system and method that pressuriZes a body cavity and              15   present invention Will be described herein as forming part of
   detects Whether the body cavity can maintain a pressuriZed             an RF ablation system used to ablate tissue Within a body
   condition                                                              cavity such as a uterus. HoWever, it. should be appreciated
                                                                          that the perforation detection system 10 may be provided
             BACKGROUND OF THE INVENTION                                  With another type of system used for treatment, or it may be
     There are certain medical procedures that are carried out       20   provided independently of a larger treatment system.
   Within a body cavity. One example of such a procedure is                 Generally speaking, perforation detection system 10
   tissue ablation. Ablation of the interior lining of a body             includes a medical ablation device 12 of a type used for
   organ is a procedure Which involves heating the organ lining           tissue ablation, and an RF generator system 14 of the type
   to temperatures Which destroy the cells of the lining or               used to deliver RF ablation energy to an electrode array on
   coagulate tissue proteins. Such a procedure may be per            25   ablation device 12. The RF generator unit, hoWever, is
   formed as a treatment to one of many conditions, such as               provided With additional components that are used for the
   chronic bleeding of the endometrial layer of the uterus or             body cavity assessment function of the present invention. In
   abnormalities of the mucosal layer of the gallbladder. EXist           particular, the RF generator unit is provided With a ?uid/gas
   ing methods for effecting ablation include circulation of              source 16 and a body cavity assessment system 20. Fluid/gas
   heated ?uid inside the organ (either directly or inside a         30   source 16 is ?uidly coupled to ablation device 12 via a
   balloon), laser treatment of the organ lining, and resistive           source line 22. The ablation device is positionable Within a
   heating using application of RF energy to the tissue to be             body cavity BC so as to deliver ?uid/gas from source 16
   ablated.                                                               through the source line 22 and the ablation device and into
      Ablation procedures are often carried out Without direct            the body cavity.
   endoscopic visualiZation. For example, ablation of the            35
                                                                            Body cavity assessment system 20 includes a pressure
   endometrium typically involves insertion of an elongate                sensing system 24 ?uidly coupled to the medical device via
   ablation device into the patient’s cervix Without the use of a         pressure detection/signal line 26. Pressure sensing system 24
   hysteroscope. As can be appreciated, the presence of a                 monitors the pressure Within the body cavity BC While
   perforation in the uterus could result in inadvertent passage          ?uid/gas is being (or after it has been) delivered to the body
   of the ablation device through the perforation and out of the     40
                                                                          cavity, and detects Whether elevated pressure can be main
   uterus into the boWel. Although events of this nature are rare,        tained above a predetermined threshold level over a prede
   the injury that could result from such occurrences make it             termined period of time. If it cannot, the user is alerted that
   highly desirable to provide a mechanism by Which a phy                 there may be a perforation in the organ.
   sician can evaluate Whether perforations are present in a
                                                                             Body cavity assessment system 20 further includes a
   body cavity before a treatment device such as an ablation 45
                                                                          lockout system 28 that prevents treatment With the ablation
   device is used to deliver poWer.
                                                                          device 12 unless body cavity assessment has been performed
               SUMMARY OF THE INVENTION                                   (pre-test lockout) and that prevents treatment if the body
     The present invention is a system and method for detect
                                                                          cavity assessment indicates a possible perforation (post-test
   ing perforations in a body cavity. In accordance With the         50   lockout). The RF generator system 14 is additionally pro
                                                                          vided With a vacuum system 30 coupled to pressure
   method of the invention, a ?uid (either liquid or gas) is
   delivered into a body cavity to slightly pressuriZe the cavity.        detection/signal line 26, RF circuitry 27, and other compo
                                                                          nents needed to perform the ablation function, A footsWitch
   A pressure sensing system monitors the pressure Within the
                                                                          32 or other input device controls operation of the RF
   cavity for a predetermined test period. If cavity pressure is
   not substantially sustained during the test period, the phy       55   generator system 14. A microprocessor or programmable
   sician is alerted to further assess the cavity for perforations        logic device 34 Within the RF generator system 14 governs
   before initiating treatment Within the cavity. In a preferred          various functions, including the body cavity assessment,
   form of the system, a medical treatment system such as an
                                                                          lockout, and RF ablation procedures.
   RF ablation system is provided With perforation detection                Ablation Device
   functionality. The system preferably includes a pre-test          60     An eXample of an RF ablation device 12 that may be used
   lockout feature that prevents RF poWer delivery unless a               With the system 10 is shoWn in FIG. 2A and 2B. Ablation
   perforation detection procedure has been performed.                    devices of this type are shoWn and described in US. Pat. No.
                                                                          5,769,880 and US. application Ser. No. 09/103,072, each of
           BRIEF DESCRIPTION OF THE DRAWINGS                              Which are incorporated herein by reference. Asimilar device
     FIG. 1 is a schematic representation of a perforation           65   is the Novasure® ablation device available from Novacept,
   detection system utiliZing principles of the present inven             Inc., Palo Alto, Calif. Naturally the perforation detection
   tion.                                                                  system may be provided in combination With the other
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                                 3                                                                     4
   medical devices as Well. Such alternative devices include             moisture to pass through the ?exures and to be draWn into
   thermal ablation devices in Which heated liquid is circulated         the exposed distal end of hypotube 58 using a vacuum
   through a balloon positioned Within the body cavity of                source located in the RF generator system 14 and ?uidly
   interest, or other device used for procedures besides abla            coupled to hypotube 58.
   tion. Alternatively, the system may be provided With tWo                Each ?exure 62 preferably includes conductive regions
   medical devices, one for use in delivering in?ation medium            that are electrically coupled to the array 44 for delivery of
   and another for use in treating body tissue. As a further
                                                                         RF energy to the body tissue. For example, strips of copper
   alternative, a treatment device may be provided independent
   of the system 10.                                                     tape (not shoWn) or other conductive material may extend
      Ablation device 12 is con?gured to deliver RF ablation
                                                                         along opposite surfaces of each ?exure. Conductor leads
   energy to the interior surface of a body cavity, While causing
                                                                    10   (not shoWn) are electrically coupled to the strips and extend
   moisture (e.g. steam) generated during ablation to be With            through tubing 42 to an electrical cable Which is attachable
   draWn aWay from the body tissue preferably using suction.             to the RF generator.
   This moisture transport feature of the device 12 is advan                During use of the ablation device, the applicator head 36
   tageous in that removing steam from the ablation site                 is inserted into the uterus With the sheath 38 covering the
   minimiZes the amount of thermal ablation that Would oth          15   array 44 to compress the applicator head 36 into a stream
   erWise be caused by the steam. Greater control over ablation          lined condition. Once the applicator head is Within the
   depth is thus achieved by alloWing ablation to occur only (or         uterus, the handle is used to WithdraW the sheath and to open
   primarily) by RF energy rather than by thermal conduction.            the array into its deployed position. Vacuum source 30 (FIG.
     The device 12 includes an RF applicator head 36, a sheath           1) is activated, causing application of suction to hypotube
   38, and a handle 40. The applicator head 36 is slidably               60. Suction helps to draW uterine tissue into contact With the
   disposed Within the sheath 38 to give the appicator head 36           array 44.
   a streamlined pro?le (FIG. 2A) to facilitate insertion of the            Ablation poWer is supplied to the electrode array 44 by the
   device into a body cavity (eg the uterine cavity). Once the           RF generator system 14. The tissue is heated as the RF
   applicator head 36 has been inserted into the body cavity,            energy passes from electrodes 56 to the tissue, causing
   handle 40 is manipulated to cause the applicator head 36 to      25
                                                                         moisture to be released from the tissue. The vacuum source
   extend from the distal end of the sheath 38 and to expand             helps to draW moisture from the uterine cavity into the
   into the position shoWn in FIG. 2B as to make contact With            hypotube 60. Moisture WithdraWal is facilitated by the
   body tissue.                                                          apertures formed in ?exures, by preventing moisture from
      Referring to FIG. 2B, applicator head 36 extends from the          being trapped betWeen the ?exures and the lateral Walls of
   distal end of a length of tubing 42 Which is slidably disposed        the uterus.
   Within the sheath 3B. Applicator head 36 includes an exter              Pneumatic Subsystem
   nal electrode array 44 and an internal de?ecting mechanism              The ?uid/gas source 16, pressure sensing system 24, and
   46 used to expand and tension the array for positioning into          associated components are shoWn in FIG. 3. Each of the
   contact With the tissue.                                              components of the pressure sensing system 24 is preferably
                                                                    35
     The array 44 is preferably formed of a stretchable met              coupled to microprocessor 34 of the RF generator system 14
   alliZed fabric mesh Which is preferably knitted from a nylon          although for clarity the microprocessor is not shoWn in FIG.
   and spandex knit plated With gold or other conductive                 3. All pressure transducers, solenoid valves, and the vacuum
   material. In one array design, the knit is formed of three            pump are controlled by the microprocessor. As discussed, a
   mono?laments of nylon knitted together With single yarns of           programmable logic device may be used in place of the
   spandex. Each yarn of spandex has a double helix of ?ve               microprocessor, although the term “microprocessor” Will be
   nylon mono?laments coiled around it.                                  used here for simplicity.
     When in its expanded state, the array 44 includes a pair of           It is also important to note that in the embodiment
   broad faces 48 (one of Which is shoWn in FIG. 2B) spaced              described beloW the tWo lines (source One 22 and pressure
   apart from one another, and narroWer side faces (not shoWn)      45   detection/signal line 26) play different roles during RF
   extending betWeen the broad faces 48 along the sides and              ablation than for perforation detection. Speci?cally, the
   distal end of the applicator head 36, and a distal face 52            signal line 26 for perforation detection serves as a suction
   extends betWeen the broad faces 48 at the distal end of the           line for ablation. The source line 22 for perforation serves as
   applicator head 36.                                                   a vacuum signal line for ablation.
     Insulating regions (not shoWn) formed by etching or other              Components along the source line 22 Will ?rst be
   techniques on the applicator head divide the mesh into                described. Fluid/gas source 16 is preferably a disposable
   electrode regions.                                                    CO2 cylinder, and may be a 16 gm cylinder providing
     The array may be divided by the insulated regions into a            approximately 850 psi at 25 C. One such example is the
   variety of electrode con?gurations. In a preferred con?gu             Linde medical grade 16 gm cylinder. The cylinder is remov
   ration the insulating regions divide the applicator head into    55   ably attached to a pressure regulator 68 such as the Leland
   four electrodes by creating tWo electrodes on each of the             Model 50033 or equivalent. Regulator 68 includes a main
   broad faces.                                                          shutoff valve 70 and pressure regulation component 72
     De?ecting mechanism 46 and its deployment structure is              Which has a control pressure of approximately 60 psi. A
   enclosed Within electrode array 44. External hypotube 58              pressure gauge 74 such as SenSym model ASCXlOODN or
   extends from tubing 42 and an internal hypotube 60 is                 equivalent is ?uidly coupled to source line 22. Pressure
   slidably and co-axially disposed Within hypotube 58. Flex             gauge 74 monitors the pressure remaining in the ?uid/gas
   ures 62 extend from the tubing 42 on opposite sides of                source 16 so as to detect When a loW volume of ?uid/gas
   external hypotube 58. Hypotube 60 is a dual lumen tube that           remains, or When the user has failed to open the valve 70.
   is coupled to the pneumatic subsystem as Will be described               Asolenoid valve 76 is positioned along the source line 22,
   beloW.                                                           65   doWnstream of the pressure regulator 68. Valve 76 remains
     Aplurality of longitudinally spaced apertures (not shoWn)           in a dosed condition, preventing How of gas through the line
   are ford in each ?exure 62. During use, these apertures allow         22, except When a cavity assessment procedure is being
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                                 5                                                                      6
   carried out. A second pressure regulator 78, such as an               device 12 to the RF generator system. When the ablation
   Airtrol R-920 series regulator, is positioned downstream of           device is plugged in, it actuates a microsWitch or similar
   the valve 76 so as to reduce pressure in line 22 doWn to              feature, Which alerts the microprocessor that the ablation
   approximately 90+/—10 mmHg during a cavity assessment                 device has been connected. Connection of the device auto
   procedure. A How control ori?ce 80, positioned doWnstream             matically starts the “CO2 PURGE” cycle, step 104. During
   of regulator 78, limits How in line 14 to 100+/—10 scc/min            the purge cycle, valve 76 is opened to permit the How of CO2
   (standard cc/min). A pressure sensor 82 doWnstream of                 through the device to drive air from the device. The purge
   ori?ce 80 monitors Whether the pressure limit (of, for                cycle lasts for a duration sufficient to purge the air from the
   example, approximately 100 mm Hg) has been exceeded. If               system, approximately 10 seconds. During the purging cycle
   the limit has been exceeded, an output signal from this               the user is alerted by audible and visual indicators not to
   sensor causes an audible alarm to be triggered and the                insert the device into the body cavity in order to prevent air
   solenoid valve 76 is turned off. DoWnstream of ori?ce 80,             from being delivered into the body. As a safety precaution,
   source line 22 is coupled, using a ?exible Tygon® tubing for          the vacuum pump that is,part of the RF Controller is pulsed
   example, to the introducer sheath 38 (FIG. 2B) of the                 every feW seconds during purging. If the user has inserted
   ablation device 12. The introducer sheath is located at the           the ablation device into a body cavity during purging, the
   internal surface of the body cavity BC (the internal os, for     15   vacuum pump Will draW out air that is delivered to the body.
   example, in the case of a uterine cavity) so as to deliver gas           During the purge cycle and device insertion into the body
   into the body cavity BC that is to be treated.                        cavity, the ablation device is dosed, such that the poles of the
      Turning to the components along the pressure detection             electrode array are in contact With each other. A loW voltage
   line 26, the pressure signal line 26 is ?uidly coupled, using         signal is applied to the ablation device Which senses that the
   a Tygon® tubin for example, to the lumen of hypotube 60.              poles are in contact by detecting a DC short. After the
   DoWnstream of the medical device 12 is a pressure sensor              completion of the purging cycle the system Waits for the
   84, such as the Sensym ACSXOSDN. During a cavity                      device to be deployed Within the patient, step 106, by
   assessment procedure, sensor 84 monitors pressure in the              monitoring for the end of the DC short condition. Once the
   pressure signal line 26 and delivers the signal to micropro           user inserts the device into the uterine cavity and opens the
   cessor 34. Microprocessor 34 (or other electronic means          25   array, the system detects that a DC short condition is no
   such as the programmable logic device mentioned                       longer present. As a safety precaution, the perforation detec
   previously) then determines if pressure in the body cavity            tion cycle cannot be initiated until the DC short condition is
   BC has failed to achieve a predetermined threshold                    eliminated. In this Way the last operation to be performed
   (indicating a perforation in the body cavity) or if it has and        before the application of RF energy is the perforation
   maintained the threshold for a predetermined time period              detection cycle.
   (indicating that the body cavity has no perforation). In this            From the completion of the purge cycle to the initiation of
   capacity, the microprocessor or (programmable logic                   the perforation detection test, a continuous, loW level ?oW of
   device) serves as a feedback means that activates a noti?             CO2 is circulated through the ablation device to keep the
   cation signal to alert a user if the pressure monitored by the source and pressure signal lines open and free from block
   pressure sensor fails to rise and remain above a predeter 35 age.
   mined level during a predetermined amount of time. The                  Next, the system Waits for the user to depress the foot
   microcroprocessor may initiate various forms of noti?cation           sWitch 32, “WAIT FOR FOOTSWITCH”, step 108. Once
   signals, such as visual or auditory signals.                          the footsWitch has been depressed, a 30-second timer is
     Further doWnstream of the pressure sensor 84 is a vacuum            initialiZed (“RESET TIMER”) and the perforation detection
   pump 86. While not needed for perforation detection,             40   test, (“PERFORM PRESSURE TEST”) 110 begins. Valve
   vacuum pump 86 is used to carry out the moisture transport            88 is energiZed to close off the vacuum pump 86 to avoid
   function of the medical device 12 described in the section            loss of pressure through it. If it Was not already opened,
   entitled Ablation Device above.                                       valve 76 is opened, alloWing CO2 to How into the body
      A second solenoid valve 88 lies upstream of the vacuum             cavity via medical device 12. When the pressure at gauge 84
   pump 86. Valve 88 remains open at all times except during        45   rises and remains above 50 mmHg for 4 seconds, the test has
   cavity assessment. Because the exhaust line of the vacuum             passed and the system moves to a “PASSTHROUGH” state.
   pump may not be air-tight When it is not operating (including         (It should be noted that the system may alternatively pres
   during the cavity assessment procedure) the valve 88 is               suriZe the cavity and then detect Whether the monitored
   provided to close the pressure signal line against leaks              pressure falls beloW a predetermined level Within a prede
   through the vacuum pump.                                              termined time period, indicating that a perforation may be
     A simpli?ed state diagram illustrating operation of the             present.) As illustrated in FIG. 4, the “PASSTHROUGH”
   system is shoWn in FIG. 4. Operation begins With valve 76             condition cannot be reached unless the body cavity assess
   in the closed condition, and With valve 88 in the opened              ment has been performed. In this capacity, the perforation
   condition. In preparation for use of the system, a CO2                detection system circuitry and logic components function as
   cylinder 16 is connected to the appropriate receiving device     55 a pre-test lockout means.
   on the RF Generator’s pneumatic subsystem (FIG. 3). The                  In the “PASSTHROUGH” condition the CO2 is turned off
   poWer to the generator is sWitched on. Pressure gauge 74              and the vacuum pump is re-enabled by re-opening valve 88.
   detects the pressure in the portion of pressure/monitoring            If the ENABLE button 33 has been pressed (automatic
   line 22 extending betWeen CO2 cylinder 16 and valve 76. If            mode), RF poWer 114 (“APPLY RF POWER”) Will be
   the user has failed to open the main CO2 shutoff valve 70,            delivered automatically to the array 44 once the cavity
   or if the pressure detected by gauge 74 is less than the              assessment cycle has been completed and passed. If the
   speci?ed pressure, an audible alert Will sound, indicating a          ENABLE button has not been depressed (semiautomatic
   loW-gas condition. Assuming no loW-gas condition is                   mode), the system moves through the “PASSTHROUGH”
   detected, the user Will connect the ablation device 12 to the         state and Waits for footsWitch actuation 112 (“WAIT FOR
   RF generator system 14.                                          65   FOOTSWITCH”), The user must press the button to enable
     The system remains in a “WAIT FOR CONNECT”                          the RF generator and then press the foot sWitch 32 to deliver
   condition, step 102, until the user connects the ablation             RF poWer 114.
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      In the event the cavity assessment test is not passed after          for procedures other than ablation. In addition, although the
   the 30 second timer has expired, an audible tone sounds and             system is described With reference to a particular
   visual indicators ?ash. The system remains in a TEST FAIL               embodiment, many other con?gurations are suitable for
   state, step 116, and aWaits further action by the user. If the          implementing the teachings of the invention. Those having
   user presses the foot sWitch, the system re-sets to the initial         ordinary skill in the art Will certainly understand from the
   ready state, step 108, With the CO2 ?oW off. The user may               embodiment disclosed herein that many modi?cations are
   attempt the cavity assessment sequence as many times as                 possible Without departing from the teachings hereof. All
   desired. As FIG. 4 illustrates, the perforation detection               such modi?cations are intended to be encompassed Within
   system circuitry and logic components function as a post                the folloWing claims.
   test lockout means preventing delivery of RF poWer using                  What is claimed is:
   the ablation device if the body cavity assessment is run but       10     1. A method of ablating a uterus, comprising the steps of:
   not passed.                                                               inserting an ablation device into a uterus;
     Alternatively, after one or more cavity assessment proce                ?oWing an in?ation medium into the uterus;
   dures has been performed and failed, the user may choose to               monitoring for the presence of a perforation in the uterus
   activate a form of override means to override the post-test                  using a pressure sensor; and
   lockout means and cause the system to deliver RF energy 15                treating the interior of the uterus using the ablation device.
   despite the cavity assessment test having been failed. To do              2. The method of claim 1, Wherein the treating step
   so, the user Will press and hold the ENABLE button 33 for               includes delivering electrical energy to the tissue.
   siX seconds. Note that the pressure check must be attempted               3. The method of claim 2, Wherein the electrical energy is
   at least one time before this feature is available. If the user         RF energy.
   overrides the cavity assessment, the system moves to the                  4. The method of claim 1, Wherein the treating step
   “PASSTHROUGH” state to Wait for footsWitch step 112.                    includes delivering thermal energy to the tissue.
      If at any time during the above sequence, the user should               5. The method of claim 1, Wherein the ?oWing step
   dose the ablation device, a DC short Will be detected in the            includes:
   electrode array by the RF generators DC short detection                   passing an in?ation medium through the ablation device
   circuitry. Closing the device causes the state of the perfo                   and into the uterus; and
   ration test to change to fail, and the system resets to the        25      the monitoring step includes monitoring a pressure Within
   “WAIT FOR DEPLOY” state, step 106. The system Will                           the uterus for a predetermined amount of time.
   then require that cavity assessment be performed again once               6. The method of claim 1, further including the step of:
   the array is reopened. This assures that the last step per
   formed before the application of RF energy is the perforation             if a perforation is detected in the monitoring step, pro
   detection test: if the user, after having successfully complet               viding feedback alerting a user to the presence of a
   ing the test, decides to close and remove the device for any                 preforation in the uterus.
   reason, the perforation detection test must be performed                  7. The method of claim 1, further including the step of
   again once the device is deployed in the body cavity. This              preventing performance of the treating step until after the
   requirement also prevents a user from abusing the system by             monitoring step has been carried out.
   running cavity assessment With the device outside the body,               8. The method of claim 1, further including the steps of:
   and then inserting the device, overriding the test, and                   suspending performance of the treating step if a perfora
   ablating Without having ever performed cavity assessment           35       tion is detected in the monitoring step;
   Within the body cavity.                                                   detecting an override signal from a user input device; and
     For additional safety, the perforation detection system                 permitting treatment of the uterus using the ablation
   preferentially uses CO2, though other gases or liquids, such                 device folloWing detection of the override signal.
   as normal saline, may be used. The pressure and ?oW limits                9. A method of detecting a perforation in a uterus,
   folloW Well knoWn guidance documents for insu?lators. In           40   comprising the steps of:
   the case of uterine perforation detection, the limits folloW              passing an in?ation medium into the uterus;
   hystero?ator guidance documents. Though other con?gura                    monitoring for the presence of a perforation in the uterus
   tions are possible, the cavity to be assessed should be in                   using a pressure sensor;
   series betWeen the source and pressure signal lines. In this              if no perforation is detected during the monitoring step,
   manner, any kinked tubing or other problems Will not lead          45        permitting ablation of the uterus using an ablation
   to a false test result. Additionally, the system is capable of               device; and
   detecting perforations eXceeding the range of siZes of                    if a perforation is detected during the monitoring step,
   devices normally inserted into body cavities (from say 15                    preventing ablation of the uterus.
   mm doWn to less than 1 mm diameter).                                      10. The method of claim 9, further including the step of:
      In order to reliably detect perforations in uterine cavities,          if a perforation is detected during the monitoring step,
   the pressure threshold in that case is preferentially kept                   detecting an override signal from a user input device
   beloW the average cracking pressure of the fallopian tubes.                  and permitting treatment of the uterus using the abla
      There are several features that improve the system’s ease                 tion device folloWing detection of the override signal.
   of use. Firstly, the physician can start or stop the perforation          11. The method of claim 9, further including the step of:
   test at any time in the sequence. Secondly microprocessor 34       55
                                                                             if a perforation is detected during the monitoring step,
   is capable of distinguishing the difference betWeen a device                 activating a noti?cation signal alerting the user to the
   that is closed versus a device that is undergoing slight                     presence of a perforation in the uterus.
   motion in the body cavity, thus reducing the likelihood that               12. The method of claim 9, Wherein the in?ation medium
   a passed test condition Will be overturned. Finally, the                is introduced using a medical device separate from the
   system includes a collar assembly 63 in FIG. 2a Which is                ablation device.
   capable of sealing the entry into the body cavity BC if leaks              13. The method of claim 9, Wherein the in?ation medium
   are determined to eXist, thus reducing the likelihood of a              is introduced using the ablation device.
   false test failure.                                                        14. The method of claim 9, Wherein the ablation device is
      Although the forgoing description is With reference to a             an RF ablation device.
   perforation detection system having a device usable to ablate             15. The method of claim 9, Wherein the ablation device is
   tissue Within a uterus, the present invention is applicable to     65 a thermal ablation device.
   perforation detection Within other body cavities, and to
   perforation detection systems having medical devices useful
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                    EXHIBIT C
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